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                     EXHIBIT J
          to Big E’s Statement of Undisputed Facts
        in Support of Motion for Summary Judgment

           Exhibit 7 to Gary Cook’s Deposition

  2012 Independent Contractor Operating Agreement
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               BIG E TRANSPORTATION LLC

           INDEPENDENT CONTRACTOR
             OPERATING AGREEMENT




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                                                            Revised 4/1/10


THIS AGREEMENT CONTAINS INDEMNIFICATION      PROVISIONS,   WHICH    ARE
HIGHLIGHTED IN BOLDFACED UNDERLINED TYPE.




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                                                        BiG E TRANSPORTATiON LLG
                                              INDEPENDENT CONTRACTOR OPERATING AGREEMENT

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STATEMENT OF LEASE



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                                           ElQE TRANSPQRTATIOfi U-C
                                  j®BPEl«DEW OOf'ltKACit>|i. OPERATING AGREEMENT

              :Si'G. E TRANSPORTATION U-C, an authorfeetf fdr-hifte intersiata motor catrief .registered wSh the' Federal 'Motor
    CamarSsrfeiy Administration fFMCSA") of the'□:& Deparimsnt Of Transportation (i'DOT), USDOTNa. 1762786 ("CARRIER’),
    ■and              ■ wO O-br           .("CONTRACTOR*), in oonsidsration of the covenants and agrssmerrts herein and

    pursuant to the federal leasing regulations, 49 C.Fi.R. Part 376, enter'into this Independent Contractor Operating Agreement,
    includlng-any Attachments and addendums fAgreemonf), affective aMZOf a.m. Eastern Time on                              Q?, 20i/4_

    (NEffel^aveElatei,).


          t     PROWSICfifOFSEiSVICgS AMP EQUIPMEMT.                  This Agreement, shall be renewed aufomaiJcaHy from year
                                                                      to year afferthat period, .unless termmatetf sooner by either
                t(aj. Equipment       During this .Agreemant          party.
   COWTRACTOR shall provide. CARRIER professional truck
   driving .services, other Indldenfa! transportation related                    2(b).   Temtination, Either psrtvmavfemiinBte
   services and the use of the equipment' eat. forth in               thisAgreornent at any limefpf any reason by giving twenty
   Attachment D (the "Equipment").              CONTRACTOR:           (20) days’ written notice to that elfecl fo the other party. In
   represent:-.' and warrants that CONTRACTOR has titie to of         addition, In the event of a park's actual or threatened
   is tha ‘ovvher* of the Equipment '.vithin the irieaniiig of 49      commitment of. s felony or Intentionar tort;, violation of, or
   C F.R. .§ 376.2(d) and has full authority to contract the          'failure to comply faily with, tee requirements of qny
   ■Equipment and servicesto.CARRJER,                                 applicabte federal,, state, local,, and foreign authorities,
                                                                      inducting but not fimifed to DOT, stale, provinoW, or locaf
                1(b). Extant      of     Use    of     Eauiamant.      highway safety, vehicle Inspection, yehide, maintenance,
    CARRIER does not agree to make any minimum use of the              traffic, toad, truck size-apd-vyetght, hazardous materials
   Equipment; to use the Equipment at any particular lime or           transportation, cargo security, or other laws and legula'icns
    location, or to furnish .any specified number of loads or          ("Applicable Law".); material breach of this Agreement, or
   pounds of freight to CONTRACTOR or to .guarantee any                the occurrence of an “accident,' as fhatienrr in defined by
   amount of revenue to CONTRACTOR; CONTRACTOR is                      FMCSA, in 43 C.F.R § 390.5, trial In CARRIER'S
   free to accept or reject any specinc shipmsm offered by             reasonable judgment, was Caused in whole or In part by
   CARRIER. CONTRACTOR, is not pronlbtoo from entering                 CONTRACTOR'S negligence, gross negligence, or wtilful
   into separate agreements to . provide other equipment and           misconduol then the other party may elect lo terminate the
   other professional hack drivers, not idehtffied ss Equipment        Agreement by giving immediate oral, followed By written,
   above, or In an attachment arid drivers- not used to service        notice of termination to the offending party. The-effective
   this Agreement, to other motor carriers:                Nor Is      date and time, of termination shall be as set forth in the
   CONTRACTOR, consistent with Section 18 of this                     written notice given by either party, or at the daie.and time
   Agreement, prohibited from using the Equipment for the             the receipt for the Equipment is given by CONTRACTOR to
   pick up,, transportation, or-delivery of property formora than     CARRIER, or qt Ipe date, and time wheri, as ,a practical,
   one common carrier or any other person orontity.                   matter; possession of -fha Equipment By CARRIER'
                                                                      pursuant to 49 C.F.R. § 376.11(b)(2) ends, .whichever of
              1(c). Equipment Recaipts.        Upon tsldng            these three dates/times is earliest
   possession, of the Equipment from ' CONTRACTOR,
   CARRIER shall, furnish to CONTRACTOR a receipt for                            2(0), Survival      . of      Llatviittes       arid
   Equipment, Which shall constitute the receipt required, by         Erttttlements.      If, up to and Including the date of
   49 C.F.R. § 376.11(b),        When CARRIER surrenders              termination, one or more, events occurlhat give rise, before
   possession of .the Equipment to CONTRACTOR upon                    or after thet date, to an enfitlemont .or llabiilte of
   tsrmlnaliori of this Agreement, CONTRACTOR shall furnish           CONTRACTOR or CARRIER under this' Agreement, such
   a similar recsipt to CARRIER, identifying the Equipment            entitiemant or the obligations retating to such liability shall
   and the date and time when possession, (hereof was                 continue,    notwithstanding the termination of this
   re'tumad to CONTRACTOR. The receipt requiredlby this              Agreement until such Itabitify or eniiilament Is satisfied in
   Section may be "transmifted to the other party by hand,            foil. CONTRACTOR'S obligations include, but are not
   mail, overnight delivery, fax, or other means of                   limited to, completing performerice in the event of
   bommiihicatioh, CARRIER shall maintain those records              termination, of this Agreement
   regarding the Equipment, required by 49 C.F.R §
   376.11(d).                                                              .3.  COMPENSATION. As total compensation. for
                                                                     everything furnished, provided, ordone by CONTRACTOR
        2.    DURATION AND TERMINATIQN.                              in connection with tills' Agreement, including driver's
                                                                     services, CARRIER .shelf pay .CONTRACTOR as- folknys.-
              2(a}. Commencement This Agreement shall                CONTRACTOR Js antitied, to remuneration, oiliy upon the.
   begin at the time and the data set forth above, and end at        full end proper performance of deitveries accomplished in
   11:59 p.m. Eastern Time oh the next succeeding March 31.


                               Big E Transportation LLC indepwdent Contractor Operating Agreement.
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each trip undertaken by CONTRACTOR pursuant to this                        for their participation in the movement of a
Agreement.                                                                 shipment; and

          3(a). Amount_____ of       Compensation.                                   3(b)(2)(E).    Charges      separately
CONTRACTOR shall receive the Base Compensation and                         stated on CARRIER'S invoice to CARRIER'S
Additional Compensation set forth in Attachment A                          Customer as fuel surcharges (or fuel or other
(CONTRACTOR Payment Rates) to the Agreement.                               cost adjustments or special fuel charges),
                                                                           insurance surcharges, charges for third-party
         3(b). Definitions Applicabie to Peroentaoe-                       contract services, charges for escorts, charges
of-Revenue Compensation.                                                   for overweight, overdimensional, or other
                                                                           permits, charges for special loading and/or
                3(b)Cl). Groas        Revenue.        Gross                unloading services, excess-value charges or
    Revenue shall mean all revenue - billed by CARRIER                     high-vaiue freight charges, or surcharges for
    to shippers, consignees, brokers, logistics companies,                 special security measures furnished or paid for
    freight forwarders, other carriers, or other customers                 by CARRIER.
    (referred to together as "CARRIER’S Customer"
    throughout this Agreement) in connection with                          3(c),   Changes in Compensation.
    shipments      CONTRACTOR          hauls under this
    Agreement - for linehaui transportation, hourly work,                        3(c)(1).  Temporary              Change.
    accessorial services, detention, and all other services,          CARRIER and CONTRACTOR may make a
    and all fuel surcharges, liability insurance surcharge,           temporary change in CONTRACTOR'S settlement
    and other charges and surcharges,                                 compensation to be paid for one or more services
                                                                      relating to a shipment or shipments under this
               3(b)(2). Adjusted Gross       Revenue.                 Agreement by both parties’ signing (either manually
    Adjusted Gross Revenue ("AGR") shall mean Gross                   or, as indicated in Subsection (c)(2) below,
    Revenue for a particular shipment, reduced by any                 electronica!ly)-amaddendum, settingJorthJhe change
    and all: .                                                        in advance of any hauling assignments to which the
                                                                      change will apply. CONTRACTOR shal! be under no
                     3(b)(2)(A). Revenue   billed by                  obligation to accept the change in settlement
         CARRIER for ail “Additional Compensation”                    compensation by signing such an addendum, and
         items, listed in Attachment A (CONTRACTOR                    CARRIER shall no! terminate this Agreement for
         Payment Rates) to the Agreement;                             CONTRACTOR’S failure to do so (except to the extent
                                                                      the procedure below for an “Ongoing Change" is
                    3(b)(2)(B). Any        incentive,                 followed), although, in such event, CARRIER are
         discount, fee, or commission CARRIER gives                   hereby authorized not to assign you loads covered by
         CARRIER'S Customer with respect to the                       such change In the meantime.        Such temporary
         shipment;                                                    change shall not be effective for more than twenty
                                                                      (20) calendar days.
                    3(b)(2)(C).    Payment-processing
         fees consisting of the actual cost incurred by                          3(c)(2).   Ongoing Change.          If any
         CARRIER for the shipment if CARRIER'S                        aspect of CONTRACTOR'S settlement compensation
         customer or a third-party payor makes                       will be changing on an ongoing basis, CARRIER shall
         deductions from CARRIER'S freight charges                    provide CONTRACTOR a. proposed addendum
         related to electronically-transmitted billing and            containing the change at least twenty (20) calendar
         payment account use;                                        days in advance by hand, fax, overnight delivery, U.S.
                                                                      First Class Mail, or other written- notice.         if
                     3(b)(2)(D).     Other        amounts             CONTRACTOR wishes to continue operating on
         CARRIER paid to third parties, including but not            CARRIER'S behalf, CONTRACTOR shall, by the
         limited to an affiliate of CARRIER, in relation to          effective date and time shown on the addendum, sign
         movement of the shipment if not covered by a                the addendum and deliver it to CARRIER by hand,
         charge separately-stafed on CARRIER'S invoice               fax, or overnight delivery-(CARRIER shal! thereupon
         to CARRIER'S Customer, including, but not                   deliver to CONTRACTOR for CONTRACTOR'S files a
         limited to, fees or commissions (including                  paper copy of the executed addendum), if this action
         commission recoveries), paid to brokers, freight            is not taken by CONTRACTOR, the addendum shall
         forwarders, interline or augmenting carriers,               operate as a notice of termination under Section 2 of
         warehouse or other storage providers, terminals,            this Agreement, and this Agreement shall terminate
         agents, or any other third party, expenses                  as of the date and time sel forth on the addendum,
         attributable to an accessorial service, escorts,            provided that, in such event, CONTRACTOR shall not
         overweight, overdimensional, or other permits               be subject, either before or after termination, to the
         special loading and/or unloading services, or               change(s) proposed in the addendum.
         special security measures paid to a third party,
         including but not limited to an affiliate of                            3(c)(3).  Addendums.     Copies of any
         CARRIER, or to CONTRACTOR; and amounts                      fully-signed addendum pursuant to Subsections (b)(1)
         paid to other contractors as a pro rata payment             or (b)(2) above shall be attached by CONTRACTOR

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      and CARRIER to their respective copies of the                  specific documents required by the shipper, plus properly-
      Agreement                                                      completed logs as required by DOT (collectively "Trip
                                                                     Documents") -- and shall, whenever'possible, settle with
            3(d).   Earnings Adjustments.                            and pay CONTRACTOR every Friday for all trips for which
                                                                     CONTRACTOR has delivered Trip Documents by hand-
                 3(d)(1).   Billing Error.     If CARRIER            delivery to CONTRACTOR'S designated dispatch office, or
      discovers and corrects an error in, or in CARRIER'S            by dropping them in a Trip Pak drop-box, by 11:59 p.m.
      sole judgment decides to retroactively increase or             Eastern Time on Saturday of the preceding week. In
      decrease, the amount of any item billed to                     addition but not as a condition of settlement and payment,
      CARRIER'S      customer on       a shipment that              after completion of each trip In the service of CARRIER,
      CONTRACTOR hauled and for which CONTRACTOR                     CONTRACTOR shall submit to CARRIER all fuel-purchase
      was compensated on a percentage-of-revenue basis              receipts; mileage reports, damage reports; state or federal
      pursuant to Section 3(a) above, CARRIER shall credit          inspection reports; accident reports; driver daily vehicle
      to, or deduct from, CONTRACTOR'S Settlement                   condition reports; weight slips; trip manifests; receipts for
      Compensation and any other amounts due                        tolls    reimbursable    pursuant     to   Attachment A
      CONTRACTOR from CARRIER at the next settlement                (CONTRACTOR Payment Rates) (not necessary if
      a share - corresponding to the percentage of such             CARRIER'S customer furnishes an electronic toll-paying
      revenue normally payable to CONTRACTOR under                  device); detention documents; expense tickets, and any
      Sections 3(a) above respectively - of the additional          other reports required by this Agreement or governmental
      amount CARRIER actually collects or refunds in                regulation.     To expedite CARRIER reimbursement,
      remedying the error.        CARRIER shall provide             CONTRACTOR is encouraged, but not required, to include
      CONTRACTOR, before or at the time of settlement,              expense receipts for all expenses authorized by CARRIER
      with a copy of the amended rated freight bill or a            in Trip Documents.
      computer-generated document that contains the
      same information, or, in the case of contract carriage,                 4(b). Settlement Compensation. At each
      any other form of documentation actually used for a           weekly settlement, CARRIER shall pay CONTRACTOR
      shipment containing the same information that would           any compensation due under Section 3 - less any
      appear on a rated freight bit], and shall otherwise           deductions under Sections 5 and 6, or other provisions or
      meet the requirements of Section 4(d) of this                 Attachments, of this Agreement, plus any other amounts
      Agreement with respect to the shipment.                       owed to CONTRACTOR by CARRIER (together referred to
                                                                    throughout this Agreement as "Settlement Compensation")
                  3(d)(2).  Billed Amount Uncollectible.            - that have been posted up to that time, by whichever
      if, after making a commercially reasonable effort to do       payment option CONTRACTOR elects in Section 3 of
     so, CARRIER is unable to collect from a customer the           Attachment B (CONTRACTOR Election Form).
     full amount of any item billed to the customer for a
     shipment, that CONTRACTOR hauled and for which                           4(c). Settlement Statement. At each weekly
     CONTRACTOR was'compensated on a percentage-                   settlement, CARRIER shall directly or through an agent
     of-revenue basis pursuant to Section 3(a) above,              hand-deliver or send to CONTRACTOR, by fax, email, or
     CARRIER shall deduct at the next settlement or                U.S. First Class Mail to the address required by Section 24
     otherwise recover pursuant to Section 5(a) of this            (Notices) of this Agreement, a statement detailing all debit
     Agreement a share of the unpaid amount that                   and credit entries since the preceding statement
     corresponds to the percentage of such revenue                 ("Settlement Statement").
     normally payable to CONTRACTOR pursuant to
     Section 3(a) above for the shipment. CARRIER shall                       4(d). Documentation.         If compensation is
     give CONTRACTOR, before or at the time of                     based on a percentage of the revenue for a shipment,
     settlement, a written explanation of CARRIER'S efforts        CARRIER shall provide CONTRACTOR, before or at the
     to collect from its customer and the computation of           time of settlement, with a copy of the rated freight bill or a
     the amount being deducted or otherwise recovered              computer-generated document that contains the same
     pursuant to Section 5(a).                                     information, or, in the case of contract carriage, any other
                                                                   form of documentation actually used for a shipment
    4. SETTLEMENT            PERIOD      AND    DOCUMENT           containing the same information that would appear on a
REVIEW.                                                            rated freight bill.   CONTRACTOR shall be permitted to
                                                                   examine CARRIER’S tariffs, or in the case of contract
             4(a). Payment Period. CARRIER shall settle            carriage, other documents from which rates and charges
with and pay the required compensation to CONTRACTOR               are computed, and documents underlying any computer­
with respect to services provided under this Agreement             generated document, at CARRIER’S main headquarters
within fifteen (15) calendar days after CONTRACTOR'S               during normal business hours. If rates and charges are
submission, in proper form, of those documents necessary           computed from a contract, CONTRACTOR is entitled to
for CARRIER to secure payment from CARRIER'S                       examine only those portions of the contract containing the
customers, including the signed freight bill, delivery receipt,    same Information as would appear on a rated freight bill,
or bill of lading (regardless of whether it is one to which no     CARRIER may delete the names of shippers and
exceptions have been taken by the shipper or consignee),           consignees shown on the freight bill or other form of
detention ticket signed by consignee and filled out with           documentation.
cause of delay and specific times in and out, and any

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           4(e). Removal of identification.          Upon           vary in amount and will be computed as indicated in the
termination of the Agreement, as a condition precedent to           column headed "Amount, or Method of Computation, of
CARRIER'S         final  payment     of    compensation,            Deduction.” Except as otherwise indicated in that column
CONTRACTOR shall remove from the Equipment, and                     or in another provision of this Agreement or Addendum, (a)
return to CARRIER, all Equipment identification devices of          CARRIER shall charge CONTRACTOR no administrative
CARRIER. If the identification devices have been lost or            (“admin.") fee or markup and (b) CARRIER shall credit
stolen, a tetter from CONTRACTOR certifying the removal             CONTRACTOR with all rebates, discounts, credits, or
of such devices from the Equipment shall satisfy this               refunds that correspond to particular deductions and that
requirement.                                                        CARRIER receives while the Agreement is in effect or, in
                                                                    the case of taxes and fees, even after the Agreement is
     5.    DEDUCTIONS FROiVi COMPENSATION.                          terminated. Instead of or in addition to making the
                                                                    deductions authorized by this Section                 from
             5(a), List of Deductions.      CONTRACTOR              CONTRACTOR'S settlement compensation and from
hereby authoifeed CARRIER to deduct the items in the                other amounts CARRIER owes CONTRACTOR, and,
deductions table below (“Deductions Table"), or in any              upon     termination     of     this  Agreement,      from
Addendum to this Agreement, from CONTRACTOR'S                       CONTRACTOR'S escrow funds under the Agreement,
compensation at the time of settlement and from other               CARRIER shall have a right to recover, through
amounts CARRIER owes CONTRACTOR, and, only upon                     collection agencies, arbitration, the right of setoff, and
termination of this Agreement, from CONTRACTOR'S                    all other available legal means, any such amounts
escrow fund under this Agreement. Where no dollar figure            CONTRACTOR owes, or comes to owe, CARRIER
is listed in the Deductions Table below, the deductions will        under the Agreement.


                DEDUCTION ITEM                            AMOUNT, OR METHOD OF COMPUTATION, OF DEDUCTION

 Advances of CONTRACTOR'S compensation                1. Advance via CARRIER Fuel Card.           See "Fuel purchases" row
 that CONTRACTOR elects to have CARRIER                  below)
 issue.   CONTRACTOR agrees to use any
 advances received via CARRIER Fuel Card or          2. Advance via Preauthorized Check. Amount of CONTRACTOR’S
 Preauthorized Check for business or commercial         compensation that, at CONTRACTOR'S request and with CARRIER'S
 purposes oniy and not for personal, consumer,          consent, CARRIER advanced by authorizing CONTRACTOR to write
 household, or payment-of-income-tax purposes.          a Preauthorized Check, plus a one-and-a-half-percent (1.5%) admin,
                                                        fee to CARRIER and a $0.85-per-Check fee to Check issuer.
 Alternative Use of Equipment payment to             See Agreement § 18(b)
 CARRIER if OWNER-OPERATOR fails to make
 such payment to CARRIER within twenty (20)
 calendar days of completion of a trip pursuant to
 Agreement § 18
 C.O.D. Charges                                      Amount of freight revenue from shippers, sublease carriers, or others not
                                                     collected, or cofiected but not remitted, by CONTRACTOR to CARRIER
                                                     when such actions were reguired by the Agreement
Claims for damages, losses, court costs, fines,      Amount CARRIER paid or otherwise incurred, subject to indemnity limits
penalties, attorneys’ fees, and other expenses       set forth in Agreement §§ 12(b)-(d)
(together “Damages") CARRIER incurs arising
out of CONTRACTOR'S negligence, gross
negligence, willful misconduct, or other culpable
acts or omissions under the Agreement, pursuant
to § 12(a) (“Indemnification"), subject to
maximums established by §§ 12(b)-(d)
Detention, accessorial, and other customer- Amount CARRIER was unable to collect from CARRIER'S Customer as a
charge revenue not collected by CARRIER from result of CONTRACTOR’S failure to transmit to CARRIER the necessary
CARRIER'S         Customer       because       of documentation supplied by the Customer, provided that no deduction
CONTRACTOR'S failure to transmit to CARRIER shall be made from CONTRACTOR'S compensation if CONTRACTOR
the necessary documentation supplied by the contacted CARRIER'S dispatch regarding issue prior to departure from
shipper or consignee                              Customer (consignor or consignee) location
Drug and alcohol testing                          Amount CARRIER paid outside vendor
Earnings Adjustment, pursuant to Agreement § See Agreement § 3(d)
3(d)
Electronic Onboard Recorder, If lost or Amount CARRIER paid outside vendor
damaged under circumstances described in
Agreement § 8(g)(4)
Escrow fund contributions by CONTRACTOR           See Agreement § 16(a)
Express mail (U.S.P.S. or private providers), Amount CARRIER paid outside vendor


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               DEDUCTION ITEM                           AMOUNT, OR METHOD OF COMPUTATION, OF DEDUCTION

TripPak SCANNING, TRANSFLO, or other
package delivery service if CONTRACTOR
charges the service to CARRIER'S account with
the delivery service vendor or requests the
service under the Aareement
Fines, penalties, and related court costs,         Amount CARRIER paid or otherwise incurred in connection with fines or
attorneys' fees, and other legal expenses          penalties that Agreement §§ 8(b) and (c) make CONTRACTOR
                                                   responsible for
Fuel and mileage taxes and fuel reporting          See Agreement § 8(d)
Fuel purchases that CONTRACTOR elects to           1. Purchases at CARRIER’S Bulk-Fueling Facilities.                   When
make, using CONTRACTOR’S CARRIER Fuel                  CONTRACTOR elects to purchase fuel at CARRIER’S bulk-fueling
Card, at CARRIER’S bulk-fueling facilities or         facilities using CARRIER Fuel Card, CARRIER shall deduct (and
third-party fuel retailers                             show on CONTRACTOR'S Settlement Statement) or otherwise
                                                       recover pursuant to Agreement § 5(a) a dollar amount computed by
                                                       multiplying the number of gallons purchased by the most recent
                                                      Weekly Retail On-Highway Diesel Price-Average All Types (per
                                                       gallon, all taxes included), published by the Energy information
                                                      Administration of the U.S. Department of Energy (“EIA”), at
                                                       http://tonto.eia.doe.gov/oog/info/wohdp/diesei.asp     or    successor
                                                      website, for the EIA ’’Region" (including California) in which the bulk-
                                                      fueiing facility is located. This price may result in a markup to
                                                      CARRIER over the amount CARRIER paid for the fuel.
                                                   2. Purchases at Third-Party Fuel Retailers. When CONTRACTOR
                                                      elects to purchase fuel from third-party vendors using CARRIER Fuel
                                                      Card, CARRIER shall deduct (and show on CONTRACTOR’S
                                                      Settlement Statement) or otherwise recover pursuant to Agreement §
                                                      5(a) an amount computed by multiplying the number of gallons
                                                      purchased by a price per gallon no greater than the price posted at
                                                      the fuel vendor's pump. The amount deducted, tf less than the pump
                                                      price, is the result of a discount to CONTRACTOR that CARRIER
                                                      has negotiated with the fuel vendor or Card issuer. If CARRIER
                                                      receives any additional discount on CONTFtACTOR's fuel purchases
                                                      or if the fuel purchases of all CARRIER’S contractors combined reach
                                                      certain volumes and result in CARRIER’S receiving rebates from
                                                      some fuel vendors,. CARRIER, shall retain all such discounts and
                                                      rebates and NOT share them with CONTRACTOR or other
                                                      contractors.
                                                   3. Fee for Card-Replacement or Cash Advance. If CONTRACTOR
                                                      loses his/her CARRIER Fuel Card or needs a cash advance from
                                                      CARRIER for a fuel purchase because CONTRACTOR is not then
                                                      carrying the Card, CARRIER shall deduct a fee of thirty-five dollars
                                                      (535) for each cash advance or replacement Card.

                                                   4. No Obligation to Use Card or Bulk-Fueling Facilities.
                                                       CONTRACTOR is under no obligation to use the CARRIER Fuel
                                                       Card for fuel purchases or to purchase fuel at CARRIER’S bulk-
                                                       fueling facilities.
Garnishment orders (including but not limited to   Amount CARRIER paid in compliance with any lawfully-issued order or
child-support orders) by courts and tax liens      lien, a copy of which CARRIER Shall supply to CONTRACTOR at or
against CONTRACTOR compensation                    before the first deduction relating to it, plus an admin, fee to CARRIERS
                                                   the amount of the lower of $100 per order or lien or such other amount
                                                   as may be authorized by law. After termination of, but not during, this
                                                   Agreement, CARRIER shall deduct from CONTRACTOR’S Escrow Fund
                                                   (after all deductions authorized by this Deductions Table) the portion of
                                                   any garnishment or lien amount due that exceeds the balance In
                                                   CONTFtACTOR's Settlement Compensation.
Identification decals                              Amount CARRIER paid outside vendor for identification materials (other
                                                   than the first set, which is provided by CARRIER at no charge) and, if
                                                   CONTRACTOR elects to have CARRIER affix the materials (other than
                                                   the first set, for which there shall be no affixing charge) to the I


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                 DEDUCTION ITEM                          AMOUNT, OR METHOD OF COMPUTATION, OF DEDUCTION

                                                     Equipment, the amount CARRIER paid outside vendor or otherwise
                                                     incurred.
  Inspections of Equipment                           Amount CARRIER paid vendor of inspections sen/ices or, if inspection is
                                                     performed at a CARRIER facility, the cost CARRIER paid for parts and
                                                     labor, with no markup
  Insurance coverages that CONTRACTOR                Cost to CONTRACTOR initially - see "Certificate of Insurance" in
  elects, via the "Certificate of Insurance" in      Attachment B (CONTRACTOR Election Form) for more details:
  Attachment B (CONTRACTOR Election Form),           1. Non-Trucking Liability insurance: $35/month, billed at $8.08/week
  to have CARRIER facilitate or that CARRIER         2. Occupational Accident Insurance:           $134/month each for
  maintains at CARRIER'S expense because                CONTRACTOR and any Co-Driver (travels in the Equipment with
  CONTRACTOR failed to provide proper evidence           CONTRACTOR), billed at $30.92/week
  of the purchase or maintenance of the required     3. Physical Damage Insurance: one and six-tenths percent (1.6%)
  coverages under Agreement § 6                         annually (billed weekly) times CONTRACTOR-specified value of
                                                        tractor

                                                     The above costs are amounts the insurers) charged for the required and
                                                     optional coverages that CONTRACTOR selected (and for those required
                                                     coverages that CONTRACTOR failed to provide CARRIER proper
                                                     evidence of CONTRACTOR'S purchase and maintenance of them). For
                                                     Non-Trucking Liability, Occupational Accident, and Physical Damage
                                                     coverages, CARRIER shall deduct $5 per month each in admin, fees in
                                                     addition to the costs shown above. All above costs are subject to
                                                     possible increases (see Agreement § 6(e)).
 Maintenance, repairs, tires, and other      parts   Amount CARRIER paid third-party maintenance vendor, plus admin, fee
 that CONTRACTOR elects to purchase           from   to CARRIER of one and a half percent (1.5%) of amount paid to vendor
 third-party maintenance vendors
 Maintenance, repairs, tires, and other      parts   For tires and parts, amount CARRIER or CARRIER'S affiliate paid third-
 that CONTRACTOR elects to purchase           from   party vendor, plus markups resulting in prices (which shall be provided to
 CARRIER or CARRIER'S affiliate                      CONTFtACTOR upon request at the time CONTRACTOR purchases or
                                                     places order for items) competitive with other vendors in the relevant
                                                     market(s). For labor in connection with maintenance and repairs,
                                                     CARRIER'S (or CARRIER'S affiliate's) hourly labor rate as posted at the
                                                     facility performing the work and competitive with other vendors in the
                                                     relevant market(s). All amounts will be subject to an admin, fee to
                                                     CARRIER of one and a half percent (1.5%).
 Medical examinations                                Amount CARRIER paid third-party vendor
 Motor vehicle reports                               Amount CARRIER paid third-party vendor
 Operating expenses not otherwise listed in          Amount CARRIER paid or otherwise incurred. For use of CARRIER
 this table for which CONTRACTOR is                  Fuel Card or Preauthorized Checks to pay for fuel, maintenance, repairs,
 responsible under the Agreement 5 5(b)              or tires, see line items for Advances above.
 Performance oompietion charges, pursuant to         Amount CARRIER paid or otherwise incurred to complete
 Agreement §§ 11 and 14                              CONTRACTOR’S required performance under the Agreement. See
                                                     Agreement §§11 and 14
 Permit fees, pursuant to Agreement § 8(f)(2)        See Agreement § 8(f)(2)
 Taxes, to the extent Contractor requests, and       Amount CARRIER paid to the taxing jurisdiction
 Carrier agrees, to pay federai Heavy Highway
 Vehicle Use Tax and State, local, and foreign
 taxes on the Equipment and its operation (other
 than fuel and mileage taxes, covered by the "Fuel
 and mileage taxes" row above and Agreement §
 8(d))
 Termination-related expenses pursuant to            Amount CARRIER paid or otherwise incurred. See Agreement § 14
 Aareement § 14
 Truck washes if CONTRACTOR requests a               Amount CARRIER paid to third-party vendor
 wash
 Weiqh-station bypass fees                           Amount CARRIER paid to third-party vendor

          5(b). Other Deductions. From time to time,                  to CARRIER.       When CONTRACTOR does so,
CONTRACTOR may be permitted to purchase fuel,                         CONTRACTOR hereby authorizes CARRIER to deduct or
products or services, including repairs, which are charged            otherwise recover pursuant to Section 5(a) of this


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Agreement     amounts . equal       to     such     charges.           insurance policy shall list CONTRACTOR as an
CONTRACTOR is never to charge any amounts to                           additional insured. CARRIER'S posaession of such
CARRIER'S account - or execute or endorse any                          insurance, however, shall in no wav affect
negotiable instrument for or on behalf of CARRIER -                    CARRIER’S rights of indemnification against
without CARRIER'S express written permission in advance,               CONTRACTOR as provided for in the Agreement.
and CONTRACTOR and CARRIER shall not incur or
authorize any other debts in the name of the other.                          6(b). CONTRACTOR’S Insurance Obliga­
                                                                  tions. CONTRACTOR shall maintain, at CONTRACTOR'S
           5(c). Information Regarding Deductions.                expense, the following minimum insurance coverages
CARRIER shat! provide CONTRACTOR with a written                   during the Agreement:
explanation and itemization of any deductions for cargo or
property damage before making them. With respect to al!                             6(b)(1).  Non-Trucking            Liability
deductions,    CARRIER      shall   make available      to              insurance. CONTRACTOR shall procure, carry, and
CONTRACTOR, upon request, copies of those documents                     maintain public liability and property damage
that are necessary to determine the validity of the                     insurance that provides coverage to CONTRACTOR
deduction.                                                             whenever the Equipment (as well as any CARRIER'S
                                                                       trailer) is being operated on behalf of CARRIER in a
             5(d), Changes in Existing Deduction items.                combined single limit of others pursuant to an
 if an item in any of the above columns will be changing,              alternative use of the Equipment under Section 3 of
 CONTRACTOR shall be so notified by personal delivery,                 the Agreement or whenever the Equipment is being
 fax, or other written notice, in any event, CONTRACTOR                operated on behalf of CONTRACTOR alone) in a
 shall not be subject to any such change until twenty (20)             combined single limit of not less than one million
 calendar days after such notice or such later time as is set          dollars ($1,000,000), with a deductible no greater than
forth in the notice. CONTRACTOR'S failure, by the end                  one thousand dollars ($1,000) for injury or death to
 of twenty calendar days after such notice, to notify                  any person or for damage to property in any one
 CARRIER of any objection to the change shall                          occurrence.       Such coverage shall be no less
 constitute CONTRACTOR’S express consent and                           comprehensive than the coverage CARRIER may
authorization to CARRIER to implement the change                       facilitate     on     CONTRACTOR'S          behalf     if
and modify accordingly the amount deducted or                          CONTRACTOR so chooses, as provided in
 otherwise, recovered pursuant to Section 5(a) of this                 Subsection (d) of this Section, in addition, such
Agreement, beginning immediately after the twenty-day                  coverage shall be primary, as between CARRIER and
period.        Such modified amounts shall replace and                 CONTRACTOR, to any other insurance that may be
supersede those shown in the table in Section 1 above, if              available from CARRIER. CONTRACTOR shall be
CONTRACTOR fails to notify CARRIER of CARRIER'S                        responsible for all deductible amounts and for any
objection within the twenty-day period - or if                         loss or damage In excess of the policy limit.
CONTRACTOR notifies CARRIER of CONTRACTOR'S
objection within the twenty-day period and the parties are                      6(b)(2). Workers’       Compensation/
then unable to resolve the matter, the parties shall each              Occupational Accident Insurance.
have the right to terminate this Agreement immediately
thereafter.      Once the change becomes effective,                                   6(b)(2)(A).   Workers' Compensa­
CONTRACTOR still retains the right to terminate this                       tion Coverage. CONTRACTOR shall, to the
Agreement in accordance with the procedures set forth in                    extent required or permitted by law, provide
Section 2 of this Agreement (although CONTRACTOR shall                     workers' compensation insurance coverage (or,
remain subject to the change until the effective date and                  if CONTRACTOR prefers, occupational accident
time of its termination).                                                  insurance coverage pursuant to Section
                                                                           6(b)(2)(B) of this Agreement where both state
      6. INSURANCE. The respective obligations of the                      law allows and CARRIER approves) for
parties shall be as follows:                                               CONTRACTOR and those of CONTRACTOR’S
                                                                           drivers, helpers, employees, agents, and other
          6(a).   CARRIER'S Insurance Obligations.                         persons required to be principally covered under
                                                                           the workers' compensation law of the state in
                6(a)(1).   CARRIER shall maintain public                   which CONTRACTOR is domiciled and in
     liability insurance     (bodily-injury/property-damage                amounts not less than the statutory limits
     coverage and environmental restoration coverage),                     required by such state’s law. The workers'
     and cargo loss-and-damage coverage, in at least                       compensation insurance policy shall provide
     such amounts as are required by FMCSA regulations                     principal coverage in the state in which
     promulgated under 49 U.S.C. § 13906 and pursuant                      CONTRACTOR is domiciled (which state, if
     to applicable state laws, covering the Equipment (as                  CONTRACTOR is a resident of North Carolina,
     well as any trailers owned by CONTRACTOR or                           shall be deemed to be North Carolina), and shall
     CARRIER) af all times it is being operated on behalf                  provide "other states coverage” that excludes
     of CARRIER.                                                           only North Dakota, Ohio, Washington, and
                                                                           Wyoming. If CONTRACTOR is domiciled in any
                6(a)(2). CARRIER’S               bodily                    of the five foregoing states, CONTRACTOR
     injury/property damage insurance policy and cargo                     shall have state-fund coverage. As evidence of

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        such coverage, CObTFRACTOR shall provide                    CONTRACTOR'S life, health care, dental care, vision
        CARRIER with a copy of the insurance policy                 care, or other needs. As provided in the Agreement,
        declarations page for CARRIER'S verification                CONTRACTOR holds CARRIER harmless with
        before operating the Equipment under the                    respect to loss of or damage to CONTRACTOR'S
        Agreement.                                                  Equipment, trailer, or other property, and CARRIER
                                                                    has no responsibility to procure, carry, or maintain
                    6(b)(2)(B),  Occupational Accident              any. insurance covering loss of or damage to
        Coverage,        CONTRACTOR may, as- an                     CONTRACTOR'S Equipment, trailer, or other
        alternative to obtaining workers' compensation              property,       CONTRACTOR acknowledges that
        coverage, obtain an occupational accident                   CARRIER may, and CONTRACTOR hereby
        insurance policy that includes either an                    authorizes CARRIER, to, waive, reject, or reduce no­
        endorsement or a separate policy provision                  fault, uninsured, and underinsured motorist coverage
        whereby an admitted insurer provides, or agrees             from CARRIER'S insurance policies to the extent
        to provide, workers' compensation coverage that             allowed under the laws of Virginia (the state in which
        becomes       effective  for   a    claim    by             CARRIER’S insurance policies are delivered), and
        CONTRACTOR alleging employee status, but                    CONTRACTOR shall cooperate in the completion of
   •    CONTRACTOR may elect this alternative ONLY                  all necessary documentation for such waiver, election,
        IF:                                                         rejection, or reduction.

                       6(b)(2)(B)(f),      CONTRAC­                       6(c), Requirements Applicable to All of
             TOR ejlher                                       Contractor's Insurance Coverages.            CONTRACTOR
                                                              shall procure insurance policies providing the above-
             (I).   Is the sole owner, and the sole           described coverages solely from insurance carriers that are
                    operator, of the Equipment, or            rated at least "A" by A.M. Best (or of equivalent financial
                                                              strength in the commercialiy-reasonabie judgment of
             (ii). Has workers and the state in which         CARRIER), and CONTRACTOR shall not operate the
                   CONTRACTOR is domiciled both               Equipment under the Agreement unless and until
                   exempts     CONTRACTOR        from         CARRIER has determined that the policies are acceptable
                   maintaining workers' compensation          (CARRIER’S approval shall not be unreasonably withheld).
                   coverage of himself-herself and            CONTRACTOR shall furnish to CARRIER written
                   CONTRACTOR’S        workers    and         certificates obtained from CONTRACTOR'S insurance
                   protects   CARRIER from being              carriers showing that all insurance coverages required
                   considered the employer of either          above have been procured from insurance carriers rated at
                   CONTRACTOR or CONTRACTOR'S                 least “A” by A.M. Best (or of equivalent financial strength in
                   workers;                                   the commercialiy-reasonabie judgment of CARRIER), that
                                                              the coverages are being properly maintained, and that the
                        6(b)(2)(B){2).    The state in        premiums thereof are paid. Each insurance certificate shall
             which CONTRACTOR is domiciled is not             specify the name of the insurance carrier, the policy
             Colorado, Massachusetts, Nevada, New             number, and the expiration date; list CARRIER as an
             Hampshire, New Jersey, New York, or              additional insured with primary coverage; and show that
             North Carolina.          CONTRACTOR is           written notice of cancellation or modification of the policy
             required to maintain statutory workers'          shall be given to CARRIER at least thirty (30) days prior to
             compensation insurance coverage for all of       such cancellation or modification.
             CONTRACTOR'S           workers,     including
             himself/herself, that are domiciled in any of                    6(c)(1). Contractor's       Liability  If
             these states;                                          Required Coverages Are Not Maintained.           in
                                                                   addition_____ to_____ CONTRACTOR'S_____ hold
                  6(b)(2)(C).    The        occupational            harmless/indemnitv obligations to CARRIER
       accident insurance coverage is no less                       under the Agreement, CONTRACTOR agrees to
       comprehensive than the coverage CARRIER                     defend, indemnify, and hold CARRIER harmless
       may facilitate on CONTRACTOR’S behalf if                    from any direct, indirect, or consequential loss,
       CONTRACTOR so chooses, as provided in                       damage, fine, expense, including reasonable
       Subsection (d) of this Section; arid                        attorney fees, actions, claim for injury to persons.
                                                                   Including death, and damage to property that
                 6(b)(2)(D).     CARRIER        approves           CARRIER may incur arising out of or in
       the coverage.                                               connection with CONTRACTOR’S failure to
                                                                   maintain the insurance coverages required bv the
               6(b)(3), Other Insurance. In addition to            Agreement In addition. CONTRACTOR, on behalf
  the insurance coverages required under the                       of CONTRACTOR'S insurer, expressly waives ail
  Agreement, it is CONTRACTOR'S responsibility to                  subrogation rights against CARRIER, and, in the
  procure, carry, and maintain any fire, theft, uninsured          event of a subrogation action brought bv
  and/or underinsured motorist, physical damage                    CONTRACTOR'S Insurer, CONTRACTOR agrees
  (collision), and any other insurance coverage that               to defend, indemnify, and hold CARRIER
  CONTRACTOR may desire for the Equipment or for                   harmless from such claim.

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                                                                   calendar days after such notice or such later time as is set
           6(d).   Availability of Insurance Facilitated By       forth in the notice. CONTRACTOR'S failure, by the end of
Carrier.                                                          twenty (20) calendar days after such notice, to notify
                                                                   CARRIER of any objection to the change shall constitute
                6(d)(1).  CONTRACTOR            may,       If     CONTRACTOR’S express consent and authorization to
     CONTRACTOR so chooses by initialing one or more              CARRIER to implement the change and modify accordingly
     boxes in the right-hand column of the attached               the amounts deducted or otherwise recovered pursuant to
     "CERTIFICATE        OF   INSURANCE,”         authorize       Section 5(a) of this Agreement, beginning immediately after
     CARRIER to facilitate, on CONTRACTOR'S behalf,               the 20-day period. Such modified amounts shall replace
     the insurance coverages required or made optional by         and supersede those shown in the Deductions Table in
     the Agreement, in any such case, CARRIER shall               Section 5(a) of this Agreement and CARRIER shall not
     deduct or otherwise recover pursuant to Section S(a)          have an obligation to also provide a revised Deductions
     of this Agreement amounts reflecting all of                  Table. CARRIER shall thereupon provide CONTRACTOR
     CARRIER’S expense and cost in obtaining and                  with a revised Certificate of Insurance, required by
     administering such coverage, as indicated in the             Subsection (e) of this Section, reflecting the change (such
     Deductions Table of Section 5(a) of the Agreement            certificate to include the name of the insurer, the policy
     (and under any notice and revised Certificate of             number, the effective dates of the policy, the amounts and
     Insurance pursuant to Subsection (e) of this Section.        types of coverage, the cost to CONTRACTOR for each
                                                                  type of coverage, and the deductible amount for each type
               6(d)(2),   If CONTRACTOR fails to                  of coverage for which CONTRACTOR may be liable) and,
     provide proper evidence of the purchase or                   upon request by CONTRACTOR, a copy of the
     maintenance of the insurance required above, then            corresponding insurance policy. If CONTRACTOR fails to
     CARRIER is authorized but not required to obtain             notify CARRIER of any objection within the 20-day period,
     such insurance at CONTRACTOR'S expense and                   if CONTRACTOR notifies CARRIER of CONTRACTOR’S
     deduct or otherwise recover pursuant to Section 5(a)         objection within the 20-day period and CONTRACTOR and
     of this Agreement amounts reflecting all of                  CARRIER is then unable to resolve ihe matter to our
     CARRIER'S expense in obtaining and administering             mutual satisfaction, or if CONTRACTOR fails to obtain
     such coverage, as indicated in the Certificate of            substitute coverage from another source and to meet the
     Insurance in Attachment B (CONTRACTOR                        requirements, as to that coverage, of Subsections (b) and
     Election Form).                                              (c) of this Section, CONTRACTOR and CARRIER shall
                                                                  each have the right to terminate the Agreement effective
                6(d)(3).  CONTRACTOR recognizes that              immediately upon the change becoming effective (although
     CARRIER is not in the business of selling insurance,         CONTRACTOR shall remain subject to the change until
     and any insurance coverage requested by                      CONTRACTOR’S termination’s effective date and time).
     CONTRACTOR from CARRIER is subject to all of the
     terms, conditions, and exclusions of the actual policy            7. COMPLIANCE WITH PERTINENT LAWS AND
     issued by the insurance underwriter.                        REGULATIONS BY CONTRACTOR.                   CONTRACTOR
                                                                 recognizes that CARRIER’S separate and distinct business
                 6(d)(4).  CARRIER shall ensure that             of providing motor, carrier freight transportation service to
     CONTRACTOR is provided with a certificate . of              the public is subject to regulation by the federal
     insurance (as required by 49 C.F.R. § 376.12(j)(2)) for     government acting through DOT, and by various other
     each      insurance   policy   under      which    the      federal, state, local, and foreign governing bodies.
     CONTRACTOR has authorized CARRIER to facilitate             Accordingly, CONTRACTOR shall adhere to and perform
     insurance coverage from the insurance underwriter           the following provisions to aid CARRIER in discharging its
     (each such certificate to include the name of the           legal duties:
     insurer, the policy number, the effective dates of the
     policy, the amounts and types of coverage, the cost to                7(a). Drivers. CONTRACTOR shall provide
     CONTRACTOR for each type of coverage, and the               CONTRACTOR and/or other competent professional
     deductible amount for each type of coverage for             drivers who meet CARRIER'S minimum driver qualification
     which CONTRACTOR may be liable), and CARRIER                standards (part of CARRIER Policies and Procedures1) and
     shall provide CONTRACTOR with a copy of each
     policy upon request.                                        1 "CARRIER Policies and Procedures'1 comprise the Big E
                                                                 Transportation LLC Contractor Manual (Rev, 4/1/10),
            6(e). Changes in Cost or Other Details of            CARRIER'S then-current edition of PC*MILER (Practical
Coverages.       If CARRIER is facilitating any insurance        Miles) computerized mileage guide, and the Federal Motor
coverages for CONTRACTOR pursuant to Subsection (d)              Carrier Safety Regulations (see "Rules & Regulations" at
of this Section and the cost to CONTRACTOR for, or other         www.fmcsa.dotgov). CARRIER shall furnish a paper copy
details of, a coverage is changing from the information          of the Contractor Manual to CONTRACTOR, at no charge,
listed in the "CERTIFICATE OF INSURANCE" in                      at the. start of the Agreement and, during the Agreement,
Attachment B (CONTRACTOR Election Form) or the                   shall make the Manual available to CONTRACTOR on
Deductions Table in Section 5(a) of the Agreement,               request for inspection at a CARRIER terminal during
CONTRACTOR shall be so notified by personal delivery,            normal business hours at no charge. CONTRACTOR may,
fax, or other written notice, in any event, CONTRACTOR           at CONTRACTOR’S expense, inspect, download, and/or
shall not be subject to any such change until twenty (20)        print the Federal Motor Carrier Safety Administration

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all of the requirements of the DOT, including but not limited      CARRIER requests proving CONTRACTOR has paid all
to, familiarity and compliance with all state and federal          taxes legally due and owing to any governmental body.
motor carrier safety laws and regulations. The parties
agree that CARRIER shall have the right to disqualify any                     7(e). Shipping Documents. CONTRACTOR
driver provided by CONTRACTOR in the event that the                agrees that all bilis of lading, waybills, freight bills,
driver is found to be unsafe, unqualified pursuant to federal      manifests, or other papers identifying the property carried
or state law, in violation of CARRIER'S minimum                    on the Equipment shall be those of CARRIER, or as
qualification standards, or in violation of any policies of        authorized by CARRIER, and shall indicate that the
CARRIER'S customers. Upon a driver's disqualification by           property transported is under the responsibility of
CARRIER, CONTRACTOR shall be obligated to furnish                  CARRIER or a carrier with which the Equipment has been
another competent, reliable, and qualified professional            subcontracted.
driver who meets the minimum qualification standards
established by CARRIER.         This Agreement may be                        7(f).   Safe Operations.
immediately terminated, in CARRIER'S discretion, if
CONTRACTOR'S or CONTRACTOR'S driver’s Commercial                                    7(f)(1).  In General.        CONTRACTOR
Driver's License is suspended, revoked or cancelled, or in              shall ensure that CONTRACTOR and al! drivers or
the event CONTRACTOR or CONTRACTOR'S driver fails                       other personnel CONTRACTOR furnishes shall (1)
the required DOT medical certification examination.                     drive in a safe manner so as to avoid endangering the
                                                                        public, the driver and/or the property being
            7(b), Medical Examinations. CONTRACTOR                      transported (2) adhere to and perform the terms of
acknowledges that DOT requires all drivers to undergo a                 this Agreement; the requirements of All Applicable
complete medical examination prior to being allowed to                  Law, including but not limited to DOT, state,
drive, in any capacity whatsoever, in CARRIER'S service.                provincial, and local safety, traffic, road, truck size-
Such examination shall be performed by physicians                       and-weight, hazardous materials transportation, and
approved by CARRIER and shall include testing for use of                cargo security laws and regulations; CARRIER'S
controlled substances. Drivers may be required to undergo               operating authorities; and, conditioned only upon
follow-up examinations, from time to time, in accordance                Section 7(f)(1) above, follow CARRIER Policies and
with the requirements of 49 C.F.R. §§ 391.41 ef seq.                    Procedures. CONTRACTOR is required to comply
Additionally, if in the judgment of CARRIER a further                   with the federal hours-of-service regulations, and
medical examination is warranted, such examination shall                nothing in this Agreement is intended to authorize
be undergone. CONTRACTOR shall bear the expense of                      CONTRACTOR or CONTRACTOR'S drivers to
all medical examinations,                                               operate beyond the limits established by those
                                                                        regulations.
          7(c). Drug        and        Aicohoi     Testing.
CONTRACTOR and CONTRACTOR'S drivers shall, as                                       7(f)(2).     CSA        2010      Compliance.
required by 49 C.F.R. § 382.103, comply with CARRIER'S                  Beginning on the date FMCSA makes its Compliance
Drug and Alcohol Policy, including participation in                     Safety Accountability 2010 ("CSA 2010") Program
CARRIER'S random drug and aicohoi testing program, and                  effective as to CARRIER'S and CONTRACTOR'S
any addendums or revisions thereto.            Violation of             operations under this Agreement, CONTRACTOR
CARRIER'S Drug and Alcohol Policy, or positive tests for'               shall ensure that CONTRACTOR'S Equipment and
drugs    or    alcohol,   shall    immediately    disquafify            drivers af all times meet CSA 2010 safety standards
CONTRACTOR'S driver. CONTRACTOR shall bear the                          sufficient to enable CARRIER to (a) achieve and
expense of all drug and alcohol tests.                                  maintain a “fit" or similar rating that enables CARRIER
                                                                        to operate without FMCSA intervention or restriction
            7(d). Paperwork___________ Requirements.                    pertaining to any of the seven safety evaluation areas
CONTRACTOR shall submit to CARRIER, on a timely                         measured by CSA 2010, (b) obtain insurance
basis, all driver logs and supporting documents (including             coverage without increased costs associated with
original toil receipts for CARRIER'S reproduction, fuel                driver, equipment, or other performance measures
receipts, and container-interchange documents), physical                under CSA 2010, and (c) be and remain competitive
examination certificates, accident reports, monthly                    with similarly-situated earners as regards any of the
maintenance sheets, vehicle .inspection sheets, bills of               seven safety evaluation areas measured under CSA
lading, proof-of-delivery receipts, trip reports, overweight or        2010.      In addition, CONTRACTOR shall notify
other citations, and any other required data, documents, or            CARRIER in writing within two (2) business days of
reports, including any documentary evidence that                       receiving       notification      from     FMCSA      that
                                                                       CONTRACTOR or any of its drivers have been
Regulations by accessing (including, on request, at any                deemed “unfit” or “marginal" based on their safety,
CARRIER terminal) the Federal Motor Carrier Safety                     inspection, and compliance performance.
Administration's “Rules & Regulations" web page indicated
above. With respect to PCMiler, a third-party copyrighted                   7(g).    Maintenance and Inspection.
mileage guide, CARRIER shall furnish to CONTRACTOR
upon request and at no charge at any CARRIER terminal                            7(g)(1). CONTRACTOR,               at
during normal business hours, prints of a commercially-                CONTRACTOR'S expense, shall equip and maintain
reasonable number of particular CONTRACTOR-requested                   the Equipment In safe condition and in complete
city-to-city mileage calculations.                                     compliance with All Applicable Law. In order to

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      ensure eomplianee with such Laws, CONTRACTOR                  tolls generally      being    reimbursed     by    CARRIER'S
      shall, at the start of this Agreement, make the               Customers).
      Equipment available for a full DOT inspection
      pursuant to 49 C.F.R, § 396.17, at CONTRACTOR'S                           8(b)- Fines. Except as otherwise provided
      expense, at a maintenance facility operated or                under "Overweight and Oversized Shipments" below,
      approved by CARRIER and shall have any necessary              CONTRACTOR           or    CONTRACTOR'S          drivers     (as
      maintenance or repairs done at CONTRACTOR’S                   professional drivers engaged in a separate and distinct
      expense. During this Agreement, CONTRACTOR                    profession) agree to pay ail fines and penalties, including
      shall, at CONTRACTOR'S expense, have a full DOT               but not limited to parking, moving-violation, and other traffic
      inspection of the Equipment performed every one               fines and penalties, imposed for violation of any Saw or
      hundred eighty (180) days at a maintenance facility           regulation by any federal, state, provincial, local, or foreign
      operated or approved by CARRIER. CONTRACTOR                   authority, where such violation results, at least partially,
      shall make the Equipment available to CARRIER for             from the acts or omissions of CONTRACTOR.
      inspection upon reasonable request by CARRIER.                CONTRACTOR shall notify CARRIER immediately of any
                                                                    such vioiation.
                 7(g)(2). To        facilitate CARRIER'S
      compfiance with 49 C.F.R. Part 396, CONTRACTOR                           8(c). Overweight and Oversized Shipments.
      shall keep and maintain, or cause to be kept and             CONTRACTOR          or     CONTRACTOR’S         drivers    (as
      maintained, systematic records of the repair and             professional drivers engaged in a separate and distinct
      maintenance of the Equipment, and shall, when                profession) shall have the duty to determine that all
      requested orally or in writing by CARRIER, promptly          shipments are in compliance with the size and weight laws
      forward to CARRIER all inspection, maintenance, and          of the states, provinces, and localities in which or through
      repair records for the Equipment. CONTRACTOR                 which the Equipment will travel and to notify CARRIER if
      shall forward to CARRIER, at least monthly, a                the vehicle is overweight, oversized, or in need of permits
      summary of all maintenance performed on the                  before commencing the haul. Except when the violation
      Equipment on a form prescribed by the CARRIER.               results from the acts or omissions of CONTRACTOR,
      CONTRACTOR shall provide CARRIER with a copy                 CARRIER shall assume the risks and costs of fines for
      of the Annual Inspection report upon completion of           overweight and oversize trailers when such trailers are
      the inspection.                                              preioaded, sealed, or the load is containerized, or the trailer
                                                                   or lading is otherwise outside of CONTRACTOR'S control,
      8.    CONTRACTOR'S EXPENSES.                                 or for improperly permitted oversized and overweight loads.
                                                                   CARRIER shall reimburse CONTRACTOR for any fines or
            8(a). Operating Expenses. CONTRACTOR                   penalties paid by CONTRACTOR, provided that
 shall, at CONTRACTOR'S expense, provide the Equipment             CONTRACTOR shall pay, or reimburse CARRIER, for any
to CARRIER ready to operate and fully roadworthy, and              costs, fines, or penalties due to CONTRACTOR'S failure to
shall furnish all lubricants, fuel, tires (including changing or   weigh each shipment or to notify CARRIER that the
 repairing tires), parts, supplies, equipment, and repairs         Equipment is overweight, oversized, or in need of permits.
 necessary for the safe and efficient operation and
 maintenance of the Equipment. CONTRACTOR shall pay                       . . 8(d). . FueLTax and Mileage Tax Reporting.
al! expenses incident to the operation of the Equipment,            if CONTRACTOR elects, by initialing Option 1 in Section 1
including, but not limited to, fuel and fuel taxes; weight         of Attachment B (CONTRACTOR Election Form), or an
tickets; ferry, bridge, tunnel, and road tolls; fares;              addendum, to the Agreement, to obtain CONTRACTOR'S
registration fees and base plates (and any unused portions          own IFTA Fuel Tax Permit CONTRACTOR and perform
of such plates); detention and accessorial charges not             CONTRACTOR'S own fuel and mileage tax reporting,
collected by CARRIER because of CONTRACTOR'S failure               CONTRACTOR shall be solely responsible for calculating,
to provide the required documentation; maintenance and             reporting, and paying ail fuel taxes owed for the operation
repair costs; wages and remuneration of operators, drivers,        of the Equipment; and shall indemnify, defend, and hold
and helpers, including, but not limited to, overtime and           Carrier harmiess against all claims arising out of or
bonuses; CONTRACTOR'S drivers' or other workers'                   relating to such fuel tax reporting and payment and the
wages, workers' compensation premiums, unemployment                indemnity limits of Section 12(bt-(dt shall not apply. If
insurance, social security payments or other similar               CONTRACTOR instead elects, by initialing Option 2 in
insurance, taxes, or employee benefits; Federal Highway            Section 1 of Attachment B (CONTRACTOR Election
Heavy Vehicle Use Tax; and state or local axle, weight,            Form), to have CARRIER perform (directly or through an
mileage, property or indefinite-situs, and other taxes,            outside vendor) ail fuel and mileage reporting on
licenses, permits (including international Fuel Tax                CONTRACTOR'S behalf, CONTRACTOR hereby agrees
Agreement C'iFTA") fuel tax permits), fees (including              that:
Unified Carrier Registration fees), charges, assessments,
or exacUons relating to the Equipment, provided that if                             8(d)(1). To     facilitate   the    parties'
CONTRACTOR elects to use a CARRIER-furnished                            compliance with the various states’ tax reporting and
PrePass or other weigh station-bypass transponder instead               payment laws (which generaliy hold the motor carrier           |
of stopping at roadside weigh stations, CARRIER shall also              liable if ah independent vehicle operator performing
cover the cost of all tolls, incurred in the service of this            transportation services on the carrier's behalf fails to
Agreement, that the transponder is utilized to pay (such                make the required tax payments), CARRIER shall be
                                                                        deemed the reporting entity with respect to the

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      Equipment and the fuel consumed by the Equipment.           terms set forth under "Fuel Purchases" in the Deductions
     In such event, CARRIER shall settle with                     Table in Section 5(a) of this Agreement.
     CONTRACTOR monthly and submit quarterly, in
     CONTRACTOR'S name as indicated herein, all the                           8(f). Base        Plate       and     Permits.
     applicable reports and payments of fuel taxes                CONTRACTOR shall obtain, and properly display on or
     required of it by the taxing bodies and authorities of       retain in (whichever is required by law) the Equipment, the
     the appropriate states, provinces, and other                 license base plate and permits necessary to operate the
     governmental bodies with respect to the Equipment            Equipment lawfully on CARRIER'S behalf in all jurisdictions
     operated under the Agreement. To assist in Carrier’s         in or through which CARRIER'S customers’ freight needs to
     computing and payment of fuel taxes, it shall issue          be transported.
     CONTRACTOR a limited-purpose credit card issued
     by a third-party financial-services company and made                          8(f)(1). Baseplates, if CONTRACTOR
     available by CARRIER ("CARRIER Fuel Card") that                   chooses to have CARRIER (directly or through a
     CONTRACTOR may use for fuel purchases.                            third-party vendor) obtain a base plate on
     CONTRACTOR and CONTRACTOR'S drivers are                           CONTRACTOR’S behalf and deduct or other recover
     free not to use CARRIER'S Fuel Card but, to the                   the expense pursuant to Section 5(a) of this
     extent they choose not to, CONTRACTOR shall                       Agreement, CONTRACTOR shall so indicate by
     provide CARRIER promptly with all properly                        initialing Option 2 in Section 2 of Attachment B
     completed driver logs, original fuel receipts (each to            (CONTRACTOR Election Form). If this Agreement is
     be submitted with the corresponding log indicating the            terminated prior to CONTRACTOR'S complete
     fuel purchase for which the receipt was obtained),                reimbursement of this combined amount, CARRIER is
     original toll receipts, and an accurate accounting of all         hereby authorized to deduct or otherwise recover any
     fuel purchases and miles traveled by state.                       remaining amount pursuant to Section 5(a) of this
                                                                       Agreement.
                  8(d)(2).  CARRIER shall deduct or
      otherwise recover pursuant to Section 5(a) of this                         8(f)(2).   Permits.
      Agreement quarterly any net fuel use tax owed at that
     time with respect to CONTRACTOR’S operations in all                               8(f)(2)(A).   Unified_______ Carrier
      taxing jurisdictions combined, along with a quarterly                 Registration Fee, In 2005, Congress enacted
     fiat charge, set forth in Section 1 of Attachment B                    the Unified Carrier Registration ("UCR") fee as a
      (CONTRACTOR Election Form), covering the permit                       replacement for numerous states' Single-State
      fee and CARRIER'S tax reporting administrative fee,                   Registration System ("SSRS") fees, effective
      but not any additional fuel tax that CONTRACTOR                       with the 2007 calendar year. The UCR fee
      may owe,          and  shall   credit  quarterly   to                 amount that is assessed by the States to
      CONTRACTOR'S next settlement any net fuel use tax                     CARRIER each year shall be deducted or
      credit or refund due CONTRACTOR at that time with                     otherwise recovered pursuant to Section 5(a) of
      respect to CONTRACTOR'S operations in all taxing                      this Agreement in an annual pro rata lump sum
     jurisdictions combined. CARRIER shall ensure that                      from CONTRACTOR (and all other CARRIER
      CONTRACTOR, receives, at least quarterly,                             contractors) at the rate of the full annual fee
      summaries of credits and debits for fuel taxes on a                   divided by the number of trucks in CARRIER'S
      state-by-state basis either on CONTRACTOR'S                           fleet as of the preceding December 31, at
      Settlement Statements        or through     separate                  CONTRACTOR'S first settlement of the new
     accountings, at CARRIER'S option.                                      year.

                 8(d)(3). Ordinarily    CARRIER       shall                            8(f)(2)(B),   Other Permits.        if
     compute CONTRACTOR'S fuel use and mileage                              CONTRACTOR accepts a shipment in or
     taxes on a fleetwide average basis. If, however,                      through jurisdictions that require an overweight
     CONTRACTOR fails to provide CARRIER complete                          or other permit, CONTRACTOR hereby
     and accurate fuel-tax-related records, as required by                 authorizes CARRIER to deduct or otherwise
     the second sentence of this paragraph, in time for                    recover pursuant to Section 5(a) of the
     CARRIER'S computation, on the seventh (7th) day of                    Agreement the cost (with no administrative fee
     each month, of CARRIER'S fuel and mileage tax                         to CARRIER). These deductions shall be made
     reports and payments for the preceding month,                         at CONTRACTOR'S first settlement after
     CARRIER shall compute CONTRACTOR'S fuel use                           receiving such additional permit and at the first
     taxes based on total miles dispatched by CARRIER at                   settlement following permit-renewal dates
     a five (5) miles-per-gallon rate.                                     thereafter.

           8(e). Fuel Purchases.         If CONTRACTOR                           8(f)(3).  Return of Base Plate and
elects to purchase fuel (when CARRIER makes it available)             Permits.       Upon termination of the Agreement,
from CARRIER'S bulk-fuel facilities or, using the CARRIER             CONTRACTOR shall return to CARRIER all base
Fuel Card, from third-party fuel vendors, CONTRACTOR                  plates, permits, and licenses issued in CARRIER'S
hereby authorizes CARRIER to deduct or otherwise                      name, if CARRIER then receives a refund or credit
recover pursuant to Section 5(a) such purchases on the                for any such base plate(s) or resells them to another
                                                                      CONTRACTOR,         CARRIER      shall    refund   to

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  CONTRACTOR a prorated share of the amount                              pursuant to Section 5(a) fhe entire expense
  received by CARRIER, less any transfer or                              incurred by CARRIER in repairing or replacing
  replacement fees owed to the plating jurisdictions. No                 the recorder, together with all collection costs.
  refund shall be made to CONTRACTOR, upon                               CARRIER shall not be responsible for any loss
  termination of the Agreement, by CARRIER of the                        or damage to CONTFtACTOR's Equipment
  costs of any permits issued in CARRIER’S name,                         arising or resulting from the installation, use, or
  even if the returned permits are re-used by CARRIER.                   removal of the CARRIER-furnished recorder.
  CONTRACTOR shall be liable to CARRIER for all
  expenses      incurred   by     CARRIER       due    to                  8(h). Uniforms.         To meet      customer
  CONTRACTOR'S failure to return ail such permits.            expectations      regarding    security, efficiency,      and
                                                              professionalism,       CONTRACTOR         and       all .   of
        8(g).   Communications Equipment                      CONTRACTOR'S drivers, helpers, and other workers shall
                                                              wear uniforms, and, if required by CARRIER, an
              8{g){'i). Mobile Phone. For safety and          identification device while before CARRIER'S customers, at
  customer-service purposes, CONTRACTOR shall                 an agency of CARRIER, or at CARRIER'S headquarters in
  obtain, maintain in an operable condition, and carry at     the      performance     of    services for      CARRIER.
  all times while the Equipment in CARRIER'S service -        CONTRACTOR shall bear the full expense of ail such
  and ensure that all of CONTRACTOR'S drivers do the          uniforms, and hereby authorizes CARRIER to deduct or
  same - a wireless mobile telephone, and maintain a          otherwise recover such expense pursuant to Section 5(a)
  corresponding contract for nationwide wireless              of this Agreement.
  telephone service, all at CONTRACTOR'S expense,
  and shall supply to CARRIER in the signature block of             9. USE OF CARRIER'S TRAILER.                For every
  the Agreement the telephone number by which to              trailer CARRIER makes available to CONTRACTOR
  reach such mobile telephone, CARRIER shall furnish          (■‘CARRIER’S Trailer"), the following provisions shall apply:
  CARRIER a list of the mobile phone numbers of all of
  CONTRACTOR'S drivers, immediately update the list                      S(a). CARRIER shall be responsible for all
  in a written notification to CARRIER whenever such          expenses relating to regular maintenance of axles, brakes,
  drivers or numbers change. CONTRACTOR shall                 and other electrical and mechanical systems, repairs of
  ensure that neither CONTRACTOR nor any of                   damage to CARRIER'S Trailer attributable to reasonable
  CONTRACTOR’S drivers operate the voice, data,               wear and tear, and' purchases of replacement tires,
  texting, or other features of any mobile phone while        provided that all such expenses are approved by CARRIER
  driving, except in a health, safety, or security            before the work is performed.
  emergency.
                                                                         9(b). CONTRACTOR shall be responsible for
              8(g)(2).   Electronic Onboard Recorder.        daily pre-trip and post-trip inspections; proper inflation of
  To help enable CARRIER to document its compliance          fires; prompt informing of CARRIER upon experiencing
  with FMCSA hours-of-service regulations with respect       defective or mal-performing tires, brakes, or other electrical
  to drivers of the Equipment:                               or mechanical features of CARRIER’S Trailer; at
                                                             CONTRACTOR'S expense, proper lubrication; and, at
                  8(g)(2)(A).   Installation and Use of      CONTRACTOR'S expense, all repairs of all damage to
       CARRIER-Fumlshed Recorder.             CARRIER        CARRIER'S Trailer other than reasonable wear and tear,
       shall, at CARRIER’S expense, furnish, install,        and CONTRACTOR hereby authorizes CARRIER to deduct
       and maintain in an operable condition in each         or otherwise recover pursuant to Section 5(a) of this
       unit of Equipment, a Turnpike Global                  Agreement all such amounts, All repairs and maintenance
       Communications, Inc. RouteTracker or other            to CARRIER'S Trailer shall be performed at facilities
       electronic onboard recorder of CARRIER'S              designated or approved by CARRIER.
       choosing.     CARRIER shall pay all usage
       charges in connection with the RouteTracker.                      9(c). CONTRACTOR        agrees    to     return
                                                             CARRIER'S Trailer in the same good condition as received
                  8(g)(2)(B).     Repair and Return of       by CONTRACTOR, reasonable wear and tear excepted
       CARRIER-Furnished Recorder. CONTRACTOR                immediately upon CARRIER’S request or upon termination
       shall be responsible for preserving and,              of this Agreement. In the event CARRIER'S Trailer is not in
       Immediately upon any request from CARRIER or          as good condition as It was delivered by CARRIER,
       the termination of this Agreement (in accordance      CONTFtACTOR hereby authorizes CARRIER to restore the
       with Section 2(b) of this Agreement), returning       Trailer to proper condition and to charge back to
       each CARRIER-furnished electronic onboard             CONTRACTOR the costs of such repairs or reconditioning.
       recorder to CARRIER. A qualified technician           In the event CONTRACTOR for any reason fails to comply
       selected by CARRIER shall remove the                  with this provision and return CARRIER'S Trailer,
       recorder. If during this Agreement or upon its        CONTRACTOR agrees fo reimburse CARRIER for all
       termination, the recorder is lost, damaged as a       reasonable expense, including attorney fees, incurred by
       result of CONTFtACTOR's negligence, or not            CARRIER in recovery of CARRIER'S Trailer or other
       returned upon request or upon termination of the      property from CONTRACTOR or CONTRACTOR'S drivers.
       Agreement, CONTRACTOR hereby authorizes               CONTFtACTOR agrees that in the event it is necessary for
       CARRIER to deduct or otherwise recover                CARRIER to enter upon private property or remove private

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property in order to recover CARRIER'S Trailer,                               11(a). Should CONTRACTOR for any reason
CONTRACTOR hereby irrevocably grants CARRIER, or                   fail to complete delivery of a load CONTRACTOR accepted
CARRIER'S duly authorized agents, permission to do so              (including CONTRACTOR'S dropping a load at a facility
and further agrees to indemnify and hold harmless                  CARRIER operates or utilizes rather than at the
CARRIER and CARRIER'S duly authorized agents from                  consignee's location), CARRIER may arrange for
any form of liability whatsoever in connection with such           completion of such trip at CONTRACTOR’S expense.
repossession.                                                      CONTRACTOR hereby waives any recourse against
                                                                   CARRIER in such action and agrees to reimburse
            9(d). For       each     accident   or incident        CARRIER for any expense arising out of completion of
CONTRACTOR shall be liable for, and pay, the entire                such trip and to pay CARRIER any damages for which
amount of direct, indirect, and consequential damage               CARRIER may be liable to the shipper or others arising out
(other than reasonable wear and tear), including but not           of CONTRACTOR'S failure to complete the trip.
limited to, towing charges, replacement costs for a total          CONTRACTOR hereby authorizes CARRIER to deduct or
loss, arising out of, or in connection with, CONTRACTOR'S          otherwise recover pursuant to Section 5(a) of this
use of CARRIER'S Trailers or CARRIER'S customer's                  Agreement all such damages and expense.
trailers.
                                                                               11(b). When      CONTRACTOR'S        failure to
            9(e). Before deducting the amount of any               complete performance consists of not making a pickup or
damage from CONTRACTOR'S compensation, CARRIER                     delivery of a container (loaded or empty) from or to Ports or
shall provide CONTRACTOR with a written explanation and            other sites designated by CARRIER'S customer and
itemization of such deduction.                                     dispatched by CARRIER and this failure makes if
                                                                   necessary forCARRIER to perform, or pay another person
           9(f). CONTRACTOR agrees and warrants                    to perform, the pickup or delivery, CONTRACTOR hereby
that, except with CARRIER'S prior written consent, any             authorized CARRIER to deduct or otherwise recover
CARRIER’S Trailer will only be used by CONTRACTOR                  pursuant to Section 5(a) the actual cost incurred by
and CONTRACTOR’S drivers to transport shipments                    CARRIER.
tendered to CONTRACTOR by CARRIER.
                                                                        12.   INDEMNIFICATION BY CONTRACTOR.
     10.   ACCIDENTS AND DELAYS.
                                                                              12(a). CONTRACTOR agrees to defend,
             10(a). Accidents.         CONTRACTOR shall            indemnify, and hold CARRIER harmless from any claim
immediately report all accidents, potential or actual claims,     iinciudina any for which CARRIER is not indemnified
bodily Injuries, losses or damages (including to cargo and         bv CONTRACTOR'S insurance and any claim of loss of
to any container, chassis, trailer, or tires provided by           or damage to the Equipment or to CONTRACTOR’S
CARRIER or CARRIER'S customers), shortages, over­                 other orooertv'i of direct, indirect, or consequential
weights, or overages to CARRIER involving operations              loss, damage, delay, fine, civil penalty, or expense,
under this Agreement, if any such occurrence is not               including reasonable attorneys' fees and costs of
reported immediately to CARRIER, CONTRACTOR agrees                litigation (together "Damages") that CARRIER pays or
to reimburse CARRIER for all expense incurred as a result         otherwise Incurs arising out of or. in connection with
of the delay in reporting.              CONTRACTOR and            CONTRACTOR'S (including CONTRACTOR'S agents' or
CONTRACTOR'S. drivers shall cooperate fully with                  employees') negligence, gross negligence, willful
CARRIER with respect to any legal action, regulatory              misconduct, breach of the Agreement, or other
hearing or other similar proceeding arising from the              culpable acts or omissions. CONTRACTOR hereby
operation of the Equipment, the relationship created by this      authorizes CARRIER to deduct or otherwise recover
Agreement or the services performed hereunder.                    pursuant to Section 5(a) of this Agreement any
CONTRACTOR shall, upon CARRIER'S request and at                   amounts due CARRIER under this Section 12.
CONTRACTOR’S expense, provide written reports or                  CARRIER shall furnish CONTRACTOR with a written
affidavits, attend hearings and trials, and assist in securing    explanation and itemization of any deduction for cargo
evidence or obtaining the attendance of witnesses.                or property damage before the deduction Is made. In
CONTRACTOR shall provide CARRIER with any                         the event that CONTRACTOR operates the Equipment
assistance as may be necessary for CARRIER or                     for any purpose other than the carriage of CARRIER'S
CARRIER.'s' representatives or Insurers to investigate,           lading. CONTRACTOR shall hold CARRIER harmless
settle, or litigate any accident, claim, or potential claim by    and Indemnify CARRIER for any damage (including
or against CARRIER.                                               attorneys’ fees) arising from such use.

            10(b). Delays.   CONTRACTOR agrees to                            12(b). With respect to claims of personal
cause no delay in delivering all assigned freight.                injury fincludino death) or damage to the property of
CONTRACTOR or CONTRACTOR’S employees or agents                    third-parties. CONTRACTOR'S indemnity obligation
shall report to CARRIER as soon as possible any delays or         under Section 12fa) above shall, if involving
Equipment breakdown that might interrupt a timely delivery.       CONTRACTOR'S (including CONTRACTOR'S agents' or
                                                                  employees') negligence, be limited to a maximum of
   11. CARRIER'S_______ COMPLETION                        OF      one thousand dollars £1,0001 of the total amount in
CONTRACTOR'S PERFORMANCE.                                         Damages that CARRIER paid or otherwise Incurred per
                                                                  occurrence.


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                                                                 CONTRACTOR'S other property or to any claim arising
           12(c). With respect to claims of cargo loss,          out of or in connection with CONTRACTOR'S operation
 damage.     or   delay.  COMTR ACTOR'S        Indemnity         of the Equipment for any purpose other than the
 obligation under Section 12(ai above shall, if Involving        performance of CONTRACTOR'S obiiaations under this
 DOMTRACTOR’s (including CONTRACTOR'S agents' or                 Agreement. CONTRACTOR shall furnish CARRIER
 employees') negligence, be limited to a maximum of              with a written explanation and itemization of any claim
 two thousand five hundred dollars f$2.50Q) of the total         for cargo or property damage.
 amount in Damages that CARRIER paid or otherwise
 incurred per occurrence.                                                   13(b). CONTRACTOR’S indemnity obligation
                                                                 under Section 13(a) above shall. If involving
          12(d). With respect to claims of loss of or            CARRIER'S       (including  CARRIER'S    agents'   or
damage to CARRIER'S Trailer or other CARRIER                     employees') negligence, be limited to a maximum of
property. CONTRACTOR'S indemnity obligation under                one thousand dollars ($1.000) of the total amount In
Section 12fa) above shall, if Involving CONTRACTOR'S             Damages that CONTRACTOR paid or otherwise
(including CONTRACTOR'S agents' or employees')                   Incurred per occurrence. This dollar limit shall not
negligence, be limited to a maximum of two thousand              apply to Damages arising out of or in connection with
five hundred dollars fS2.500) of the total amount In             such claims if involving CARRIER'S (including
Damages that CARRIER paid or otherwise incurred per              CARRIER'S agents' or employees’) gross negligence,
occurrence.                                                      willful misconduct, breach of the Agreement, or other
                                                                 culpable acts or omissions.
           12(e). The dollar limits In Sections 12(b). (c),
and (d)shail not apply, in addition to In those                          13(c). CARRIER   shall____ credit  to
circumstances described elsewhere in this Agreement,             CONTRACTOR'S next Settlement Compensation any
to amounts advanced by CARRIER for emergency road                amounts due CONTRACTOR under this Section 13
service for or towing of the Equipment or CARRIER'S              from CARRIER.
Trailer or to Damages arising out of or in connection
with such claims if involving CONTRACTOR’S                           14. CONTRACTOR'S       OBLIGATIONS         UPON
(including CONTRACTOR'S agents' or employees’)                   TERMINATION. At the termination of this Agreement:
gross negligence, willful misconduct, breach of the
Agreement, or other culpable acts or omissions.                              14(a), CONTRACTOR shall, unless otherwise
                                                                 instructed by CARRIER, complete performance of all
           12(f). CARRIER      has    secured      certain       transportation and other services required by CARRIER or
insurance policies and coverages directly relevant to            any bills of lading pertaining to any shipment or shipments
certain risks and liabilities for which CONTRACTOR              that CONTRACTOR may be engaged in hauling at the time
has agreed to indemnify CARRIER under this Section               of termination.       CONTRACTOR shall receive no
(for example, automobile liability, general liability, and      compensation for any shipment with respect to which
cargo liability arising out of or in connection with            CONTRACTOR has failed to complete all required
CONTRACTOR'S (including CONTRACTOR'S agents' or                 transportation and other services. In the event CARRIER
employees') negligence, gross negligence, willful               instructs CONTRACTOR not to complete performance of
misconduct, or other culpable acts or omissions),               transportation or other services that CONTRACTOR is
Such policies are expressly for the benefit of CARRIER          willing and able to perform, CARRIER shall pay
and incidentally may benefit CONTRACTOR. Terms of               CONTRACTOR compensation determined in accordance
such policies may change (for example, higher or lower          with Section 3 of this Agreement for the portion of such
deductibles, length of coverage, UM/UIIVI waivers or            services that CONTRACTOR performed prior to
limitations, or insurance underwriters). CONTRACTOR             termination.       CONTRACTOR agrees to reimburse
has neither any obligations under the policies nor any          CARRIER for any expense arising out of completion of a
right to change the terms of coverages.                         trip and to pay CARRIER any damages for which
                                                                CARRIER may be liable to the shipper or others arising out
     13.   INDEMNiFiCATION BY CARRIER                           of CONTRACTOR'S failure to complete the trip.
                                                                CONTRACTOR hereby authorizes CARRIER to deduct or
           13(a). CARRIER agrees to defend, indemnify,          otherwise recover pursuant to Section 5(a) of this
and hold CONTRACTOR harmless from any claim                     Agreement any such expense or damages.
(including any for which CONTRACTOR is not
indemnified bv CARRIER'S insurance) of direct                                14(b). CONTRACTOR shall, immediately upon
indirect, or consequential loss, damage, delay, fine,           termination of the Agreement or the completion of the
civil penalty, or expense, including reasonable                 transportation or other services provided for herein,
attorneys' fees and costs of litigation (together               whichever occurs later, both remove all of CARRIER’S
"Damages") that CONTRACTOR pays or otherwise                    identification devices from the Equipment and, except in
incurs arising out of or in connection with CARRIER'S           the case of identification painted directly on the Equipment,
(Including    CARRIER'S     agents'   or employees')            return them to CARRIER via prepaid hand-delivery,
negligence, gross negligence, willful misconduct other          overnight delivery, or certified mail (provided that if the
culpable acts or omissions, or breach of the                    identification device has been lost or stolen, a written notice
Agreement. This indemnification shall not apply to any          (letter) certifying its removal shall satisfy this requirement);
claim of loss or damage to the Equipment or to                  return all of CARRIER'S property, including CARRIER'S

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Trailer, pin locks, ioad locks, CARRIER’S Fuel Card,               employees of CARRIER and “an independent contractor
permits and other paperwork, freight, and CARRIER'S other          relationship may exist when a carrier lessee complies with
property to any of CARRIER'S facilities; and pay CARRIER           49 U.S.C. § 14102 and attendant administrative
all amounts CONTRACTOR owes CARRIER at that time                   requirements.”
under this Agreement.
                                                                              15(b). identification of Equipment. CARRIER
             14(c). If CONTRACTOR fails to return                  shall furnish CONTRACTOR all identification devices,
 CARRIER'S property or freight to CARRIER or remove and            placards, and other materials required to identify the
 return all of CARRIER'S identification from the Equipment         Equipment, and CONTRACTOR agrees to affix, or permit
 and/or pay all advances and other amounts owed to                 CARRIER to affix, such identification to the Equipment in
 CARRIER pursuant to Section 5(a) above upon termination           the manner required by law. CARRIER shall deduct or
 of this Agreement, CONTRACTOR shall pay CARRIER all               otherwise recover pursuant to Section 5(a) of this
 expenses (including reasonable attorneys' fees) CARRIER          Agreement the cost (with no markup or administrative fee
 incurs In seeking ihe return of such Items, and CARRIER          to CARRIER) of the identification materiais and its affixing
 may pursue al! other remedies allowed by law or authorized        of them, if CONTRACTOR elects to have CARRIER
in the Agreement against CONTRACTOR. Such remedies                perform the service, to the Equipment. CONTRACTOR
include withholding CONTRACTOR'S last settlement                   shall, at CONTRACTOR’S expense, first remove any paint,
payment until CONTRACTOR removes and, except in the               decals, or other items that, in CARRIER'S reasonable
case of identification painted directly on the Equipment,         judgment, would interfere with such identification. Upon
returns all of CARRIER'S identification devices or delivers       termination of the Agreement or any other time the
to CARRIER a letter certifying that such devices have been        Equipment is being operated on behalf of any other carrier
removed, and making deductions from any such remaining            or shipper pursuant to Section 18 of this Agreement,
compensation and from CONTRACTOR'S Escrow Fund for                CONTRACTOR shall immediately, at CONTRACTOR'S
the replacement value of CARRIER'S unreturned property            expense, remove, paint over, or, in the case of operations
and for other amounts CONTRACTOR owes CARRIER, as                 on behalf of another entity, completely cover over, all of
provided by Sections 5 and 6 of this Agreement; and               CARRIER’S identification (see § 14(b) above for additional
setting off all advances and other amounts owed to                requirement at termination of Agreement). At no time
CARRIER against any other monies CARRIER owes, or                 during the Agreement shall. CONTRACTOR place any
later comes to owe, CONTRACTOR, CONTRACTOR shall                  carrier identification, paint, artwork, logo, or design upon
bear the expense of removing CARRIER'S identification             the Equipment, except that of CARRIER, without
from the Equipment, including any damage caused to the            CARRIER’S prior written consent pursuant to Section 18 of
Equipment by such removal.                                        this Agreement or otherwise (which consent shall not be
                                                                  unreasonably withheld),
     15.   CARRIER RESPONSIBILITIES.
                                                                        16. ESCROW FUND, CONTRACTOR authorizes
            15(a). Exclusive_____ Possession______and             CARRIER, and CARRIER agrees, to establish and
 Responsibility. CARRIER and CONTRACTOR intend to                 administer a required escrow fund (“Escrow Fund”), which
 relate to each other entirely as independent contractors,        shall be governed by the following terms and conditions;
 not as employer, and employee. Nevertheless, solely, to
 comply with 49 C.F.R. § 376.12(c)(1), CARRIER shall-have                     16(a). Principal. The amount of principal to be
 exclusive possession, control, and use of the Equipment for       held in the Escrow Fund shall be a minimum of two
the duration of this Agreement. CONTRACTOR may                     thousand five hundred dollars ($2,500) per unit of
 operate the Equipment for other motor carriers, shippers, or      Equipment (up to $10,000 for all units of such Equipment
others, during this Agreement only with ihe prior written          combined), which shall be deducted or otherwise recovered
consent of CARRIER pursuant to 49 C.F.R. § 376.12(c)(2),          -pursuant to Section 5(a) of this Agreement at fifty dollars
as. applicable, and the terms of Section 18 of this                ($50) per settlement, beginning the first week of services
Agreement. CARRIER shall not sublease the Equipment to             provided by CONTRACTOR under the Agreement, until the
another carrier without CONTRACTOR'S prior written                 toll amount is deposited. If, at any time, the principal
consent (which consent shall not be unreasonably                   amount in escrow falls below the foregoing required
withheld), CARRIER shall assume complete responsibility            amount of principal, CONTRACTOR authorizes CARRIER
for the operation of the Equipment for the duration of this       to deduct or otherwise recover pursuant to Section 5(a) of
Agreement, except when the Equipment is under sublease             this Agreement payments at the same rate until ihe toll
by CARRIER to another authorized carrier. Any such                 principal amount is replenished.
sublease shall state that the sublessee-carrier shall have
exclusive possession, control, and use of the Equipment,                      16(b). Specific Items to Which Escrow Fund
and shall assume complete responsibility for the operation        fl/lav Be Applied. The Escrow Fund shall be held by
of the Equipment, for the duration of the sublease, This          CARRIER for the purpose of ensuring compliance with the
subsection is set forth solely to comply with FMCSA               provisions of the Agreement. The specific items to which
regulations and shall not be used for any other purposes,         the Escrow Fund shall apply - and only upon termination of
including any attempt to classify CONTRACTOR as an                the Agreement - are all advances, expenses, taxes, fees,
employee of CARRIER.          As 49 C.F.R. § 376.12(c)(4)         fines, penalties, damages, losses; or other amounts paid,
provides, nothing in the provisions required by 49 C.F.R,         owed, or incurred by CARRIER, or owed by
§ 376.12(c)(1) Is intended to affect whether CONTRACTOR           CONTRACTOR to a third party under a purchase or rental
or CONTRACTOR'S drivers are independent contractors or            contract, that are CONTRACTOR’S responsibility under the

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 Agreement - specifically, the deduction items set forth in        not constitute a waiver of CARRIER’S right to recover,
 the Deductions Table in Section 5(a) of this Agreement            through aii available legal means, any additional amounts
 (hereafter "Escrow items") - to the extent that the amounts       CONTRACTOR owes, or comes to owe, CARRIER under
 owed by CONTRACTOR for such Escrow Items exceed                   the Agreement.
 CONTRACTOR'S Settlement Compensation at the time of
 the final accounting. .                                              17. CONTRACTOR            NOT      EMPLOYEE         OF
                                                                   CARRIER.
           16(c). Accountings. While the Escrow Fund is
under CARRIER’S control, CARRIER shall provide an                              17(a). In Genera!, Nothing herein contained
accounting to CONTRACTOR, no less frequently than                  shall be construed as inconsistent with CONTRACTOR'S
monthly, of all transacfions involving such fund by clearly        independent-contractor status, and that status may not be
indicating on individual Settlement Statements the amount          altered by CONTRACTOR, by the employees, agents, or
and description of any deduction or addition made to the           servants of CARRIER, or by operation of any federal, state,
Escrow Fund, in addition, upon CONTFtACTOR's request,              or local law at any time, under any circumstances, or for
CARRIER shall provide CONTRACTOR with an accounting                any purpose. Subject io the requirements of DOT and of
of any transacfions involving CONTRACTOR’S Escrow                  any state regulatory agency having jurisdiction and
Fund.                                                              although required to meet all obligations assumed under
                                                                   the Agreement, CONTRACTOR is entitled to exercise the
            16(d). interest. CARRIER shall pay interest on         discretion and judgment of an independent contractor in
the Escrow Fund to CONTRACTOR'S next settlement on a               determining the manner and means of performing those
quarterly basis (“interest period") beginning with receipt of      obligations, including in:
the first CONTRACTOR contribution of principai. The
interest rate shali be established on the date the interest                        17(a)(1), Selecting, purchasing,  and
period begins and shall be equal to the average yield of 91-            financing the Equipment and deciding when, where,
day, 13-week U.S. Treasury bills, as established in the                 and how maintenance and repairs are to be
weekly auction by the Department of Treasury.            For            performed on the Equipment;
purposes of -calculating the balance on which interest is
paid, CARRIER may deduct a sum equal to the average                                17(a)(2). Selecting all routes (faking into
advance (including ail other deductions) made to                        account      CARRIER'S       Customer     or   delivery
CONTRACTOR during the period of time for which interest                 requirements), refueling stops, and time and place of
is paid.                                                                rest stops, provided that to meet Customers'
                                                                        demands, CONTRACTOR agrees to make timely and
             16fe1. Final Settlement Following termination              safe deliveries of ail loads, and also agrees to notify
 of the Agreement, CONTRACTOR shall make payments to                    CARRIER when delivery has been, made or when
 CARRIER for all Escrow items. At the time of the return of             delivery will be delayed for any reason; and
 any remaining balance in the Escrow Fund, CARRIER may
 deduct monies for all Escrow Items then still owed to                              17(a)(3). Being solely responsible for the
 CARRIER. Such deductions shall be limited to amounts                   direction and control of CONTRACTOR and all of
 CARRIER actually spends, incurs, or owes to a third party,             CONTRACTOR'S employees, agents, and servants.
 or that CONTRACTOR owes to CARRIER or a third party                    Including selecting, hiring, firing, supervising,
 under a purchase or rental contract, before termination of             directing, assigning work, setting wages, hours, and
 the Agreement or, with respect to any CONTRACTOR                       working conditions, paying, and adjusting grievances
 obligation triggered by termination, including any expenses            of such employees, agents, and servants.
 (including reasonable attorneys’ fees) incurred by
CARRIER in seeking the return of CARRIER'S identification                     17(b). CONTRACTOR'S Responsibility for
devices, CARRIER'S Trailer, and other property, all                Insurance, Taxes, and Operating Expenses Relating to
amounts CARRIER actually spends, incurs, or owes to a              CONTRACTOR’S Workers, CONTRACTOR shall have
third party upon termination or within forty-five (45) days        sole financial responsibility for all workers' compensation
thereafter. CARRIER shall not make deductions from the             insurance (or, if CONTRACTOR prefers, occupational
Escrow Fund for items for which, by fhe end of forty-five          accident insurance coverage pursuant to Section 6(b)(2)(B)
(45) days after termination, neither CONTRACTOR nor                of this Agreement where both state Taw allows and
CARRIER has yet made an expenditure or incurred a                  CARRIER approves); withholding, unemployment, and
quantified, legally binding obligation to pay. CARRIER            employment taxes due to the federal, state or local
shall provide a final accounting to CONTFtACTOR of ali             governments; and all operating expenses on account of
such final deductions made from the Escrow Funds within            CONTRACTOR, CONTRACTOR'S drivers, drivers' helpers,
forty-five (45) days from the date of termination of the          and other workers necessary for the performance of
Agreement.                                                        CONTRACTOR'S obligations under the terms of the
                                                                  Agreement.       The indemnification of CARRIER by
            16(f). Return of Escrow Balance. In no event          CONTRACTOR required bv Section 12 of the
shall the Escrow Fund, less any final deductions pursuant         Agreement shall apply in the event, among others, that
to the above provision, be returned to CONTRACTOR later           any claims, actions, administrative proceedings, or
than forty-five (45) days from the date of termination of the     arbitrations are brought bv employees or other
Agreement CARRIER'S use, or post-termination return to            personnel CONTRACTOR furnished, bv any union, bv
CONTFtACTOR, of any balance in the Escrow Fund shall              the public, or bv any federal, state, local, or foreign

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authority, that arise out of CONTRACTOR’S furnishing                             CONTRACTOR employ or use drivers,
of drivers, drivers’ helpers, and other workers and that                         helpers, or other workers to fulfill its
hold that any of CONTRACTOR'S workers are an                                     obligations under the Agreement, and such
employee {but not a statutory employee resulting from                            drivers, helpers, or other workers are
CONTRACTOR’S failure to comply with law! of                                      covered by the unemployment laws of any
CARRIER.         In connection with CONTRACTOR'S                                 state, including Georgia, CONTRACTOR is
obligations under this paragraph:                                                solely      responsible    for   providing
                                                                                 unemployment insurance for such drivers,
                17(b)(1). insurance.          CONTRACTOR                         helpers, or other workers.
     agrees to maintain in force at all times proper workers'
     compensation insurance (or, if CONTRACTOR                                          17(b)(2)(B). Access to CONTRAC­
     prefers, occupational accident insurance coverage                      TOR'S Tax Records. CONTRACTOR agrees to
     pursuant to Section 6(b)(2)(B) of this Agreement                       furnish CARRIER such evidence of compliance
     where both state law allows and CARRIER approves),                     with the foregoing as CARRIER shall reasonably
     covering ail drivers, drivers’ helpers, and other                      require, including but . not limited to proof of
     workers used by CONTRACTOR in the performance                          income and payroll taxes currently paid by
     of the Agreement, in accordance with Section 6 of                      CONTRACTOR (including as provided in
     this Agreement.                                                        Section 17(b)(2)(C) below) or withheld by
                                                                            CONTRACTOR           from    the    wages     of
                17(b)(2). Taxes.                                            CONTRACTOR'S drivers and other workers.

                       17(b)(2)(A). CONTRACTOR'S Form                                   17(b)(2)(C). CONTRACTOR'S
          of Business and Agreement to File Returns and                      Required Submission of iRS Form 4669 to
          Pay Taxes. As an independent contractor,                           CARRIER. CARRIER shall, itself or through an
          CONTRACTOR is free to choose the form in                          agent, file federal income tax IRS Form 1099s
          which to operate CONTRACTOR’S business.                           with the Internal Revenue Service with respect
           Regardless of the form of business entity                        to     CONTRACTOR        if  the   amount       of
          selected, CONTRACTOR shall file all federal,                      compensation CARRIER pays CONTRACTOR
          state, local, and foreign income, withholding,                    during a calendar year reaches the level at
          employment, and federal heavy vehicle use tax                     which federal law requires such forms to be
          forms      and      returns    associated   with                  filed. For each Form 1099 filed, CARRIER shall,
          CONTRACTOR’S business (together, "Tax                             itself   or    through . an     agent,    furnish
          Returns'1) that CONTRACTOR may be required                        CONTRACTOR with both a copy of the
          by law to file, on account of CONTRACTOR and                      completed Form 1099 and a copy of IRS Form
          all drivers, drivers’ helpers, and other workers                  4669, entitled "Statement of Payments
          used by CONTRACTOR in the performance of                          Received" on which CARRIER shall have tilled
          the Agreement at the time and place that may                      in CONTRACTOR'S name and address as
          be specified in the applicable federal, state,                    "Payee1' (Line 1), CONTRACTOR'S Social
          local, and foreign laws, and to pay when due all                  Security Number or Federal Taxpayer ID
          taxes and contributions reported in such forms'                   Number (Line 2), CARRIER'S name and address
          and returns. In that regard, CONTRACTOR                           as "Payor" (Line 3), the Calendar Year for which
          further agrees that CONTRACTOR knows:                             the Form 1099 was filed (Line 4), and the
                                                                            "Amount of Payments [to CONTRACTOR] on
                           17{b)(2)(A)(1).  Of                             Which Income Tax and Social Security Tax
                CONTRACTOR'S, or as appropriate,                           Were Not Withheld" by CARRIER [the amount
                CONTRACTOR’S          business    entity's,                reported on the Form 1099] (Line 5).
                responsibilities to pay estimated social                   CONTRACTOR shall fill out the remaining
                security taxes and state and federal                       Lines 6, 7 (if applicable), 8, 9, and 10, sign
                income taxes with respect to remuneration                  (Line 11), and date (Line 12) of the Form
                received from CARRIER;                                     4669, and mall or otherwise deliver the
                                                                           original signed form to CARRIER or
                          17(b)(2)(A)(2). That         the                 CARRIER’S designated agent within thirty
               social security tax CONTRACTOR, or as                       (30) days of filing, with the IRS, an income
               appropriate, CONTRACTOR'S business                          tax return or employment tax return relating
               entity, must pay is higher than the social                  to the income reported on the Form 1099.
               security tax the individual would pay if he
               or she were an employee; and                                17(c). The Parties' Financial Obligations if
                                                                 Contractor Is Determined to Be an Employee. If,
                         17(b)(2)(A)(3). That        the         whether on CONTRACTOR’S initiative or not
               service provided by CONTRACTOR to                 CONTRACTOR is found to be an employee of CARRIER
               CARRIER pursuant to the Agreement is              bv any federal, state, local, or foreign court,
               not work covered by the unemployment              administrative agency, or other governmental body.
               compensation laws of any state, including         CONTRACTOR        and   CARRiER       hereby     agree,
               Georgia; provided, however, that should           notwithstandino any other provision of this Agreement:

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              17(c)(1). CONTRACTOR_________shall                          18(a). Exciusive-Use Requirement of Federal
   Immediately owe CARRIER, for each week or                   Leasing Regulations, CARRIER and CONTRACTOR
   other period this Agreement was in effect all               intend to relate to each other entirely as Independent
   Settlement Compensation, as defined bv Section              contractors, not as employer and employee. Nevertheless,
   Albl of this Agreement, previously paid to                  solely to comply with 49 C.F.R. § 376.12(c)(1), CARRIER
   CONTRACTOR bv CARRIER and all rights in any                shall have exclusive possession, control, and use of the
   balances In required or voluntary escrow funds              Equipment for the duration of this Agreement.
   then under CARRIER administration that are                 CONTRACTOR may operate the Equipment for other
   traceable to compensation previously paid to                motor carriers, shippers, or others during this Agreement
   CONTRACTOR bv CARRIER. PLUS any cash                       only with the prior written consent of CARRIER pursuant to
   advances provided bv CARRIER to CONTRACTOR                 49 C.F.R. § 376.12(c)(2), as applicable, and Subsection
   that CONTRACTOR used for personal, household,              (b) of this section. CARRIER shall not sublease the
   or other expenses not in performance of                    Equipment to another carrier without CONTRACTOR'S
   CONTRACTOR’S         obligations   under     this          prior written consent. CARRIER shall assume compiete
   Agreement or that CONTRACTOR retained                      responsibility for the operation of the Equipment for the
   unspent and LESS any expenses /including, for              duration of this Agreement, except when the Equipment is
   Equipment other equipment or tools used in                 under sublease by CARRIER to another authorized carrier.
   performing work for CARRIER, any actual rent or            Any such sublease shall state that the sublessee-carrier
   installment-purchase     payments    made      bv          shall have exclusive possession, control, and use of the
   CONTRACTOR or. if none, payments that would                Equipment, and shall assume complete responsibility for
   equal fair-market rent for items of similar kind,          the operation of the Equipment, for the duration of the
   aoe. and condition^ CONTRACTOR incurred in                 sublease. This subsection is set forth solely to comply with
   performance of CONTRACTOR’S obligations                    FMCSA regulations and shall not be used for any other
   under this Agreement that were not Paid bv                 purposes, including any attempt to classify CONTRACTOR
   CARRIER:                                                   as an employee of CARRIER. As 49 C.F.R. § 376.12(c)(4)
                                                              provides, nothing in the provisions required by 49 C.F.R. §
              17(c)(2). CARRIER shall immediately             376.12(c)(1) is intended to affect whether CONTRACTOR
   owe CONTRACTOR, for all work activities during             or CONTRACTOR'S drivers are independent contractors or
   each week or other period this Agreement was in            employees of CARRIER and "an independent contractor
  effect (Including any activities for which CARRIER          relationship may exist when a carrier lessee complies with
   has not vet paid CONTRACTOR), only the then-               49 U.S.C. § 14102 and attendant administrative
  applicable federal minimum hourly wage, or if               requirements."
   higher a State’s then-applicable minimum hourly
  wage but only to the extent CONTRACTOR'S                               18(b). Subleases and Other Alternative Uses
  waae-earnina activities occurred in that State,             of Equipment, At CONTRACTOR'S request, CARRIER
  multiplied bv CONTRACTOR’S total hours actually             may, if CARRIER so chooses with respect to any trip or
  performing on-dutv work for CARRIER, consisting            trips, approve uses of the Equipment to perform
  of both driving and non-driving time, under the            transportation services other than on behalf of CARRIER
  FMCSA Hours of Service Regulations, 49 C.F.R.              only under the terms and conditions set forth in this
  Part 355. or under a State’s hours of service              Subsection (b). Such other uses may consist of (together,
  regulations to the extent applicable.       The total      "Alternative Uses of Equipment'1): (i) Sublease - CARRIER
  hours worked shall be computed based on any                subleases the Equipment (including driving services
  relevant, reliable evidence, which may include             furnished by CONTRACTOR) to another authorized for-hlre
  CONTRACTOR Settlement Statements, driver logs              motor carrier of property ("Sublease Carrier") for the
  (or, if loos are no longer available, the total hours      provision of for-hire motor carnage, exempt or non-exempt
  that the applicable hours of service regulations           from the jurisdiction of the U.S. Secretary of Transportation
  would have permitted CONTRACTOR to be on-                  under 49 U.S.C. §§ 13501 et seq., to Sublease Carrier's
  dutv working for CARRIER during each relevant              customers pursuant to Sublease Carrier’s operating
  periodl, shipment and/or vehicle tracking data,            authority; and (II) CONTRACTOR Motor Carriage,
  bills of lading, fuel receipts, toll receipts, and         CONTRACTOR uses its own motor carrier operating
  testimony: and                                             authority to provide for-hire motor carriage, exempt or non­
                                                             exempt from the jurisdiction of the U.S. Secretary of
            17(c)(3). Because reclassification of            Transportation under 49 U.S.C. §§ 13601 et seq., to a
  CONTRACTOR’S        status    from    Independent          shipper (directly or through a motor freight broker).
  contractor to employee would fundamentally
  change the parties’ contracting assumptions and                            18(b)(1). Carrier’s Authorization and
  expectations, either party may terminate this                   Release. To obtain CARRIER'S authorization for
  Agreement upon the number of days notice to the                 each Alternative Use of Equipment, CONTRACTOR
  other set forth in Section 2fb) of the Agreement                shall take the following steps before accepting a
  The provisions of this Section shall be deemed to               trip:
  survive any termination of the Agreement
                                                                                18(b)(1)(A). For Alternative Uses of
  18.   ALTERNATIVE USES OF EQUIPMENT.                                 Equipment Involving Subleases.      Have the

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       Sublease Carrier complete, sign, date, and then                                  18(b)(2)(B)(1). Ten percent
       fax, or scan and email, to CARRIER a sublease                          (10%) of all gross revenue billed by
       in the form appended hereto (CARRIER shall                             Sublease Carrier to its customer for a
       provide a blank form if needed), together with                         Sublease trip; and
       the Sublease Carrier's certificate of insurance
       required by Section 5 of the form of Sublease                                  18(b)(2)(B)(2). Ten percent
       appended as Attachment C of the Agreement;                             (10%) of all gross revenue billed by
       and                                                                    CONTRACTOR to its customer for an
                                                                              CONTRACTOR Motor Carriage trip.
                  18(b)(1)(B). For Alternative Uses of
       Equipment Involving CONTRACTOR Motor                                   18(b)(3). Carrier's identification.
       Carriage.    Telephone or email CARRIER'S
       dispatch and provide it with valid information                                 18(b)(3)(A). Subleases.       For the
       about CONTRACTOR and about the trips                              duration of any Sublease, CONTRACTOR shall
       (dates, times, and city and state of pickup and                   remove or cover up all of CARRIER'S
       delivery), and CONTRACTOR shall obtain an                         identification on the Equipment and display
       oral or emailed release from CARRIER'S                            instead the Sublease Carrier's identification; and
       dispatch.    CONTRACTOR shall display the
       CARRIER release number on the trip sheet                                      18(b)(3)(B). CONTRACTOR Motor
       submitted to CARRIER after the trip.                              Carriage. For any trip under CONTRACTOR'S
                                                                         own operating authority to provide for-hire motor
            18(b)(2). Compensation        For      All                  carriage, exempt or non-exempt from the
  Aitemative-Use-of-Equipment Operations.           In                  jurisdiction    of the     U.S.    Secretary    of
  connection with a Sublease or other Alternative Use                   Transportation under 49 U.S.C. §§ 13501 at
  of Equipment, CONTRACTOR agrees that:                                 seg., to a shipper or private carrier,
                                                                        CONTRACTOR shall remove or cover up all of
                  18(b)(2)(A). CONTRACTOR shall                         CARRIER’S identification on the Equipment and
       submit any necessary Sublease- or other                          display instead CONTRACTOR'S identification,
       Alternative Use-related shipping documents to,                   if CONTRACTOR possesses interstate or
       and obtain settlement compensation directly and                  intrastate operating authority and no other motor
       exclusively from, Sublease Carrier (in the case                  carrier booked the shipment, the shipment, even
       of Sublease trips) or the shipper (in the case of                if exempt from the jurisdiction of the U.S.
       CONTRACTOR               Motor          Carriage).               Secretary of Transportation under 49 U.S.C. §§
       Notwithstanding anything in this Agreement to                    13501 et seq., shall be deemed to be one
       the contrary, CARRIER shall have no                              involving CONTRACTOR Motor Carriage for
       responsibility for collecting freight charges or                 purposes of this Subsection (b).
       paying       settlement      compensation       to
       CONTRACTOR for any Alternative-Use-of-                                 18(b)(4). Control of and Responsibiiity
       Equipment trip; and                                         for the Equipment . As required by 49 C.F.R. §
                                                                   376.12(c)(1), CARRIER, except for Sublease trips,
                    18(b)(2)(B). CONTRACTOR shall                  shall with respect to the public have exclusive
        pay CARRIER the percentage indicated below                 possession, control, and use of the Equipment, and
       of gross revenue billed to the customer before              assume complete responsibility for the operation of
       any reductions for accessorial charges, fuel                the Equipment, for the duration of this Agreement.
       surcharges, or any other amounts and before                 For Sublease trips, CARRIER'S sublease to Sublease
       any charge-backs or deductions from settlement              Carrier shall, in accordance with 49 C.F.R. §
       compensation ("Gross Revenue") for each                     376.22(c)(2), provide that Sublease Carrier shall have
       Alternative-Use-of-Equipment                  trip.         exclusive possession, control, and use of the
       CONTRACTOR shall furnish CARRIER, with                      Equipment, and shail assume complete responsibility
       such payment, a copy of the applicable                      for the operation of the Equipment, for the duration of
       settlement compensation statement and rated                 the Sublease. In addition, for CONTRACTOR Motor
       freight bill from the Sublease Carrier or, in the           Carriage trips, which also constitute subleasing,
       case of CONTRACTOR Motor Carriage                           CONTRACTOR shall have exclusive possession,
       shipments, a copy of the rated freight bill                 control, and use of the Equipment, and shall assume
       CONTRACTOR submitted to the shipper or                      complete responsibiiity for the operation of the
       private carrier. If CONTRACTOR fails to make                Equipment, for the duration of trip.
       such payments to CARRIER Within twenty (20)
       days of completing the trip, CARRIER shall be                           18(b)(5). Insurance.       For Altemative-
       authorized to deduct or otherwise recover                   Use-of-Equipment trips, just as for trips performed on
       pursuant to Section 5(a) of the Agreement the               behalf      of     CARRIER,       CARRIER'S        and
       amounts for trips performed on CARRIER'S                    CONTRACTOR'S insurance obligations shall be as
       behalf under the Agreement:                                 set forth in Sections 6(a) and (b) of this Agreement,
                                                                   provided that:



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                      18(b){5)(A). Subieases.             As       contract shall be specified in an attachment to this
           between Sublease Carrier and CARRIER, the               Agreement,
           sublease shall provide that Sublease Carrier’s
           public liability insurance (bodily-injury/properiy-           20. NO PASSENGERS. CONTRACTOR shall not
           damage coverage and environmental restoration           allow any passengers to ride in the Equipment.
           coverage)       and    cargo     loss-and-damage
           insurance shall cover the Equipment for the                   21. LOADING AND UNLOADING. CONTRACTOR
           duration of the Sublease; be in at least such           shall be responsible for loading and unloading freight onto
           amounts as are required by FMCSA regulations            and from the Equipment (if CARRIER, shipper, or
           promulgated under 49 U.S.C, § 13906 and by              consignee does not assume such responsibilities), with no
           applicable state laws (for public iiabiiity             additional compensation for this service, except to the
           insurance, in a combined single limit of not less       extent set forth In Section 3 of this Agreement.
           than one million dollars ($1,000,000), with a
           deductible no greater than one thousand dollars               22. CONFIDENTIALITY.          CONTRACTOR hereby
           ($1,000), for injury or death to any person or for      recognizes and acknowledges that any list of CARRIER'S
           damage to property in any one occurrence); and          customers, any list of CARRIER’S owner-operators or
           be primary to any insurance coverages that              employees, and information regarding rates paid by or to
           CARRIER may maintain; and                               CARRIER (the “Confidential Information") as they may exist
                                                                   now or from time to rime, are valuable, special and unique
                      18(b)(5)(B). CONTRACTOR Motor                assets of the business of CARRIER. CONTFtACTOR
          Carriage. With respect to Altemative-Use-of-             agrees, during and after the term of this Agreement, not to
          Equipment trips involving CONTRACTOR Motor               disclose Confidential information or any part thereof to any
          Carriage (using CONTRACTOR'S own operating               person, firm, corporation, association, or other entity for
          authority), CONTRACTOR shall, and hereby                 any reason or purpose whatsoever without CARRIER’S
          warrants that it does, maintain public liability         prior written consent. CONTRACTOR agrees to preserve
          insurance           (bodily-injury/property-damage       as “Confidential Matters", ail trade secrets, know how and
          coverage      and      environmental      restoration    information relating to CARRIER'S business, forms,
          coverage)       and      cargo     loss-and-damage       processes, developments, sales and promotional systems,
          coverage, in at least such amounts as are                prices and operations, which information may be obtained
          required by FMCSA regulations promufgated                from tariffs, confracts, freight bills, letters, reports,
          under 49 U.S.C. § 13906 and by applicable state          disclosures, reproductions, books, records, or other
          laws (for public iiabiiity insurance, in a combined      contractors, and other sources of any kind resulting from
          single limit of not less than one million dollars       this Agreement. CONTRACTOR agrees to regard such
          ($1,000,000), with a deductible no greater than          Confidential Matters as the sole property of CARRIER, and
          one thousand dollars ($1,000), for injury or             shall not publish, disclose or disseminate the same to
          death to any person or for damage to property in        others without the written consent of CARRIER. In the
          any one occurrence), covering the Equipment             event of any breach or threatened breach by
          for the duration of the Alternative-Use-of-              CONTRACTOR of the provisions of this Section, CARRIER
          Equipmenf trips. CONTRACTOR shall provide a             shall    be . entitled    to    an injunction, ■ restraining
          valid certificate of insurance evidencing such          CONTRACTOR from disclosing, in whole or in part, the list
          coverages to CARRIER before accepting any               of CARRIER'S customers, and ail other Confidential
          Alternative-Use-of-Equipment trips involving            Matters. CONTRACTOR agrees that CARRIER will be
          CONTRACTOR Motor Carriage. On such trips,               irreparably damaged in the event of any breach of this
          as between CONTRACTOR and CARRIER,                      provision by CONTRACTOR. Accordingly, in addition to
          CONTRACTOR'S public-liability insurance and             any other legal or equitable remedies that may be available
          cargo loss-and-damage insurance policies shall          to CARRIER, CONTRACTOR agrees that CARRIER will be
          be primary to any insurance coverages that              able to seek and obtain immediate injunctive relief in the
          CARRIER may maintain.                                   form of a temporary restraining order without notice,
                                                                  preliminary injunction, or permanent injunction against
                 18(b)(6). Remaining Agreement Terms.             CONTRACTOR to enforce this confidentiality provision.
     In all other respects, the terms of this Agreement shall     CARRIER shall not be required to post any bond or other
     apply     to CONTRACTOR'S            Alternative-Use-of-     security and shall not be required to demonstrate any
     Equipment operations.                                        actual injury or damage to obtain injunctive relief from the
                                                                  courts. Nothing hereunder shall be construed as prohibiting
      19. CONTRACTOR            NOT      REQUIRED         TO      CARRIER from pursuing any remedies available to
PURCHASE OR RENT PRODUCTS. EQUIPMENT, OR                          CARRIER af law or in equity for such breach, including the
SERVICES FROM CARRIER.              CONTRACTOR is not             recovery of monetary damages from CONTRACTOR.
required to purchase or rent any products, equipment, or
services from CARRIER as a condition of entering into this              23. BENEFIT AND ASSIGNMENT. This Agreement
Agreement.       In the event CONTRACTOR elects to                shall be binding upon and inure to the benefit of the parties
purchase or rent equipment from CARRIER or from any               to this Agreement and their respective successors.
third party, for which the purchase or rental contract gives      CONTRACTOR shall not assign or subcontract this
CARRIER the. right to make deductions from                        Agreement or ail or any portion of CONTRACTOR’S rights
CONTRACTOR'S settlement, the terms of each such

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                                                                                                                                  I




or obligations to another party without the prior written          CONTRACTOR     HEREBY    CONSENT   TO                 THE
consent of CARRIER.                                                JURISDICTION AND VENUE OF SUCH COURTS.

      24. NOTICES. All notices required or permitted by                28. COMPLETE AGREEMENT AND WAIVER.
this Agreement shall be in writing {unless permitted               Immediately upon this Agreement's becoming effective -
elsewhere in this Agreement to be oral) and shall be
deemed to have been fully given (unless otherwise                             28(a). This      Agreement,     including any
specified in the Agreement) (a) upon delivery if delivered in      Appendices attached and addendums, shall constitute the
person or by facsimile transmission; (b) on the next               entire agreement between the parties pertaining to the
business day after being deposited with an overnight               subject matter contained herein, and terminate, fully
delivery company with the express charges prepaid; or (c)          replace, and supersede all prior and contemporaneous
on the date indicated on the return receipt, or if there is no     agreements, representations, and undertakings, oral and
such receipt, on the third business day after being                written, expressed or implied, or practices, between the
deposited in the United States Mail with lirst-class postage       parties pertaining to such subject matter.
prepaid; in each event properly addressed to the other
party at the address or fax number shown at the end of this                  28(b). All compensation and other amounts due
Agreement. CARRIER and CONTRACTOR shall be under                  CONTRACTOR from CARRIER, and all advances and
a continuing duty to provide a correct address and                other amounts due CARRIER from CONTRACTOR,
telephone number to the other party, and CARRIER and              pursuant to any written agreement between the Parties that
CONTRACTOR (if the latter has a fax machine) to provide           this Agreement replaces, shall remain due and payable.
a correct fax number to the other. Notice of an address,          The amounts of compensation for trips started, and the
telephone-number, or fax-number change shall be given in          amount of advances and other amounts due CARRIER,
writing.                                                          before the effective date of this Agreement shall be
                                                                  determined under the predecessor agreement; the
      25. NON-WAIVER. The failure or refusal of either            payment procedures shall be determined under this
party to insist upon the strict performance of any provision      Agreement; and the payment timing shall be determined
of this Agreement, or to exercise any right in any one or         under the predecessor agreement or this Agreement,
more instances or circumstances shall not be construed as         whichever requires payment earlier. Any balance in any
a waiver or relinquishment of such provision or right, nor        required escrow/ fund established pursuant to the
shall such failure or refusal be deemed a customary               predecessor agreement shall be transferred into the
practice contrary to such provision or right.                     required Escrow Fund under this Agreement.

      26. SEVERABiLiTY. If any provision (including any                      28(c). No     supplement,   modification,    or
sentence or part of a sentence) of this Agreement is              amendment to this Agreement shall be binding unless in
deemed invalid for any reason whatsoever, this Agreement          writing and signed by both CARRIER and CONTRACTOR,
shall be void only as to such provision, and this Agreement       except as otherwise provided with respect to deductions in
shall remain otherwise binding between the parties. Any           Sections 5 and 6 of the Agreement.
provision voided by operation of the foregoing shall be
replaced with provisions which shall, be as close to the                     28(d). No waiver of any of the provisions of this
parties’ original intent as permitted under applicable law.       Agreement shall constitute a waiver of any other provisions
                                                                  whether or not similar, nor shall any waiver constitute a
       27. GOVERNING LAW AND CHOICE OF FORUM.                     continuing waiver. No waiver shall be deemed effective or
This Agreement is to be governed by the laws of the United        binding upon the CONTRACTOR unless execute in writing
States and of the Commonwealth of Virginia, without               by the party making the waiver.
 regard to the choice-of-law rules of Virginia or any other
jurisdiction. THE PARTIES AGREE THAT ANY CLAIM OR                       29. COPIES OF THIS AGREEMENT AND
■DISPUTE ARISING FROM .OR IN CONNECTION WITH                      STATEMENT OF LEASE. CARRIER shall, as set forth in
THIS AGREEMENT, WHETHER UNDER FEDERAL,                            49 C.F.R. § 376.12(1), keep the original of this Agreement,
STATE, LOCAL, OR FOREIGN LAW (INCLUDING BUT                       with a copy to be retained by CONTRACTOR. Pursuant to
NOT LIMITED TO 49 C.F.R. PART 376), SHALL BE                      49 C.F.R. § 376.11(c)(2), a "Statement of Lease" shall be
BROUGHT EXCLUSIVELY IN THE STATE OR FEDERAL                       carried on the Equipment for those periods that the
COURTS SERVING RICHMOND, VA, CARRIER AND                          Equipment is operated by or for CARRIER under this
                                                                  Agreement.




                             Big E Transportation LLC Independent Contractor Operating Agreement
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              iW WTfWESS WHEREOF; CARRIER and CONTRACTOR hereby sign this Agreement

      CARRIER: BIG E TRANSPORTATION iXC                              CONTRACTOR:
                                                                     Chock ions:        D Corporation                     h'
                                                                                              "MmtEad Llabilfty Company
                                                                                          Q Partnership
                                                                                          O Soie Proprietorship         .
                                                                     Organizecllti'state- of:   T A V>                ^
                                                                     mm Bmptoytr'ip Ate..-                          T




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                                                                    Date
      Date




                                 Big E Transportation LLC Inttependenf Contractor Operating Agreement
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                 Big E TransporfeSan ILC Independent Contractor Operating Agreement   Rev. 4/1/10.
                                       EQUIPMENT RECHPTS




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                                                           AtTACHMgwtA

                                                   CONTRACTOR PAYil'IEWT SPATES

            As total carppensatfori tor all oi t!is Equrprrient anti. services CONTRACTOR imnishos CARRIER under this
    Agregfnanti CARRigR shall p^y CONTRACTOR Bane Cornpcnsatlon pliis Atfdlbanai;Conipensafibf) asfollotvs:

          1.         BASE ■ COMPENSATION; Ror any given CARRIER-dispatohssi move, CONTRACTOR shall reoelv's Base
    Compcnsatinn iiiidernrily one of the Subsections (aMc) of thi:. Soditm. as delerminsd by toe- typo of move involved;

                   IfaJ.  Elat-Rafe Oamnensaffon. For each CARRIERJispatched move described lb any,attached
    Supplement 1 to Attachment A, as a .'White Glove Delivery, CONTRACTOR shall recblve'the flat amount of per
   -stop.

                    1(b).   Peroentaqe-Rateci Compensation. For each ;CARRIER dispatched move described ih any
    attached SuppiemeirH to Attachment A, as an-.LTL Shipment,-.CONTRACTOR shall receive 75% of the Base Revenue as
    bllted and described      in. Supplement T to Attachrnent.ft.

                      1(0).    Minimum WesislyCompensatiop. - '$1750.00

             2.        AbpmONAL COWPENSATtOPi. CARRIER.shali.atso pay CONTRACTOR, as applicaljle;

                      2(a).    Additional Fusl-Reiated Combensgtlon, See Supplement 2 fo'Attachment A

                      2(b).     Additional Mileaoe Rate - Abgllcable ONLY to White Glove Deilvery shipments, as dasotibed in
   /‘.ttaeh-neni A -Sectiqn 1(a),.cpNTRACTOR \slll be eomparisated $1.00 (one dollar) for each mlle.aver 60 mllas travailed.from
   the CONTRACTOR'S domidjed Big E termmai toihe cudtomeris location. Additional mileage rate Is based on one way mileage
    only. Mlleage to be calculated using the Big E TMS sysiam.

                      2(0), Aceassoriai Charges - Applicable ONLY to. White Glove Deiivery shipments, as described In
   Attachment A, .Section 1(a), CONTRACTOR, will bs compensated 75% .(seventy live percent) of the rate charged to the
   sustomsr for all accessorial charges as defined in Supplement 3-to Attachmerrl A

            3,       IderitHleation of Equipment - In .Reference to Section f5(b) of this, agreement, should CONTRACTOR, quit
   or be terminated within the first 120.( one hundred,and twenty ) days of the Initial ettecSye. data of this agfeemenC CARRIER will
   dsduot the cost of CARRIERS logo, including installatiori from.CONTRACTORS final settlement This deduction does-hot effect
   of replace the CONTACTORS requirement to remove the logos, at CONTRACTORS cost, In the event of termination of this
   .agreement.

            THIS ATTACHMENT A, Which oompleteiy replaces and. supersedes, any.earlier attachment, addendum, or other
   provisions of this Agreement relsttng te the same subjects, Is agreed to by the undersigned parties and shall be
   affective [CHECK ONL Y ONE BOX]-.

            0     At the date and tifna set forth on page t of this Agreement
            □ At                _m.. Eastern Time,.                                 _,20_

                                                                     CONTRACTOR:              /y-*                  f-'i-OL? y^G
                                                                     Social Security or Empovar 10 No.:

                                                                     By:                                        __________________
                                                                            S^naturet:


                                                                     Authorized Rep.'a Name      id or Printed) "

                                                                     Tide

                                                                     Date




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                                                 S»PPLElSfrEiCT.:2-T£) AlTAGHMEMt A

                                      ADDfn0NAUF.UEC-REUltED COMPEMSATIOtii PROGRAM!.

               %        Subjeot to Section 2 below, CARRIER shall pay CONTRACTOR, the following Addiiipnat. Fuel-IRelateii
    Compensation on allpfthe Equipment's CARRIER-dispatched Doiiveries, based on the moat recant naiiona1 fU.S,') average
    'UVe'eRly' Rdtait oraHigHway.tli.esei Price - Ayerage All Types,"posted on the website ofthe Energy irtfonriatibn'Aa'minisifaiioh of
   ;the U;S. Depbitmenlof Enefgyas oflhe date.of Ssttemeht.
               2.       Additfabal Fual:Related Compensation listed below fa pald on a Per Stop basis Only,



                                                       Proposed
              .Fuol Rairsige                             FSC
     $        2.6o -         ®         2.24       $                  -
     $       -z-zs - $                 2.49      $
     $        2.50 - $                .2.74       $              0.75
     $        2J75 - $                 2.99       $              1.50
     $        3:00 - $                '3.24        S             2.25
     S        3.25    $               :3.49        $             3.00
     $        3.50 - 3                 3.74        $             3.75
     $        3.75 - $.                3.99        $             4.50
     5        4.00    $            . 4.24          $             5.25
     $        4.25 - $                 4.49       '5             6.00
     $        4.50 - $              ' 4.74         $             6.75
     3        4,75 - 5                 4.99       3              7.50
     3.       S'.OO - 3                5.24        3             S.25
     $        5.25 - 3                '5.49-      3              9.00
     3        5.50 - 3                 5^74        $             9-75
     S        5.75 - $                -5.99        3            10.50



           3.       CARRIER shail not pay Additional. Fusl-Reiated Compehsatfonwfieh anci if the Nationaf U.S, Deparfment of
   Energy national average diesel fun! price is below bye dollars and fiity cents ($2.60) per gallon. If fho National U.S. Departmeht
   of Energy nations/ average dlessi ftrsf price is .abbve.flve dollars ninety-nine cents (55.S9) per-gailon, the CARRIER and
   COCftRACTOR Uill.mast to discuss Fuel-f.eiated.Compshsafidn,

          THIS SUPPLEMEMT 2 TO ATTACHMENT A, which complstaly replaces and supersedes any earlier supplement,
   addendum! or other provisions of this Agreement relating to the same subjects, is agreed to by the undersigned parties
   and shall be efteefive/CHECK OWlT OWE BOXJ:'


            IS At the date and time set forth on page 1 ofthis Agreement,
            □ At__________ m.. Eastern Time.          _____________ , _____,20___ .


                                                                     CONTRACTOR:                     c,c.
                                                                     Social Security or. Employer ID tlo.',

                                                                     By: .                                    _______________
                                                                            Slgnafure   / ..sT
                                                                     ________                                 ^
                                                                     Aulhorbed Rep.’s Wame (Typed ojKPrsrdBd)
                                                                     ______
                                                                     Tdle

                                                                     Date




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                                                           RtTACHMEHT B

                                               .   CONTKACTb-R ELEClibkPQRM..
                         For Fuat Tax Reporting, SeHJernani: CornpsnsaSlori bisbufssmeiit, flnd Insurance


    1        Fuel t&x reportimg. contractor.should initial bmoFTmsETwo oPTtai’js:



                   V OPTIOM 1: CQM7f?ACT0R shajl. dbtefe the fFTA' pamiit, and perform ail fuel and mileage tax reporting
                     services, wiih.respecf to.the Equifiment.at.GONTRACTOEfs.expsnse.

                      OPTtOM 2: CARRIER shall, directly or through s third-party vendor, obtain the IFTA pemnlt, and perfonri all
                      fust and mileage tax.reportinB services, vvfth.respeot td the Equlpment .af CARRIERIs expense.

   2.       METHOD OF PAYiVIEMT OF SETfLEMEWT COStfENSATION. CO^URACTOR SHOULD INITIAL ONE OF THESE
            TWO OPTJOWS:
                     OPTIOW 1 (Weeidv Payments via Direct Deposit to CONTRACTOR'S Bank Account!: CARRIER shall
                     pay Settlement Compensation (with CARRIER charging no admlnistrativs tee) by malting an eleotronia dirafif-
                     deposit into CObfiRACTdR's- fianfc -acadurrt'  in .accordance wth, .a. CARRIER-supplIsd form that
                     CONTRACTOR shell complete.'

                     OPTiON 2~ (Weekly Payments via CARRIER Banl; Cheiclt - Wailedi: CARRIER shall pay SeiiJemant
                     Compensation (wlth.CARRIER.oharglng no adminlsteative fea) by. sending.a bank check: by Li.S. First Class
                     Mail to the address required by Section 24 .(.Noticesj dffhfs Aareerheht.

   3.       CHRTIFICATE OF INSURANCE. CONTRACTOR hereby requests CARRER, through CARRIER’S insurer, to faoHitate
            oh CONTFtACTOR's behatf (if they are aveltebie). the insurance coverages that CONTRACTOR has - selected by
            ptadng' CONTRACTOR'S infttais.on the "YES' line ih.the right-hand cdfumn below:

            CONTRACTOR SHOULD INITIAL °YES” OR *WO" fN THE RIGHT-HAND COLUm OF EACH INSURANCE
            COVERAGE BLOCK:

                                                                                                                    . INITIAL
                                                                                                                     “YES'* TO
                                     TYPE OF COVERAGE/WEED TO FILL IN)                                               REQUEST
                                                                                                                    COVERAGE
    1.   Non-TruckinaLiabllitv Insurance:

         Name ofInsurer. Hudson Insurance Company                                                                   (r'rC'XZS

         PoBcv No: CBA41001.BE                                                                                            NO

         Effective Daiols) of Coverage: From the effective.date (below) of this. Certificate.of Insurance through
    the next succeeding August. 1, and each subsequent annual renewal period, subject to CONTRACTOR'S
    payment rrt insurance cost and, other policy fetftts and'conditions.

         Amount of Coverage: ?l,600,b00 per occurrence

        ■Current Cost, to CONTRACTOR: $35'per month, billed at$3.oaparweek, for each unit of Equipment,
    plus $5 per month admin, fee to CARRIER

         Deductible for Which CONTRACTOR Is Liable: $1,000 per ocourrence




                               Big E Transportation LLC independent .Contractor Operating Agreement
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                                                                                                                            INITIAL
                                                                                                                           "YES” TO
                                       TYPE OF COVERAGE /WEED TO. FILL IN]                                                 REQUEST :
                                                                                                                          COVERAGE
      2. OocUBaSeinai Accident Insatanos:
                                                                                                                                yes
                                                                                                                                                          .
           Nams of Insurer. One'Beacon Irisiiranoe
                                                                                                                                NO
           Pofio/ Na: -216^000-423

          ■Effeotiva D^te(s) qf Chvarage: From !tie; effective tfate./bdicw) of ibis Certiffertfe .of Jnsuiance through
      the next suooaedmg March 1, and .each subsequent anmiai reneiiyai period, subject to; CCJl-iTRACTOR's
      payment of insurance costand other policy terms and conditions

           Amount of Coverage: .$1,000,000 meddmum lifetime bene®

          Current Coat to CONTRACTOR: SISd/nRanth, billed at $30.82taeak, each, for CQMTRACTOR and
      any other drivers employed by CONTRACTOR (not induding Co-driver}, plus $5-per-mdritbadmm. fee to
      CARRIER                                                                              -

           Deductible for Which. CONTRACTOR Li Liable: $0
      3.   Physical Damaae insurance on Tractor:
                                                                                                                          &C-YES
           Name of Insurer Hudson Insurance Comoanv

           Poffcv Wo: CBA01 obb                                                                                                NO

          Effective Datefa). of Coverage: From the Effective Pate;{beiow) of this Oertjii.oate of insurance through
     the next succeeding June.30, and each subsequent annual renewal period,- subject to CONTRACtOR's'
     payment af insurance cost and blber pollcyferms end corfdiiions

              Amount of Coverage:           CONTRACTOR-spBcifted value of frector or. efiaigfit trucli of
     $                (anv tractor of straiotit truck dalms. Trowever, will be paid at onlv the-fair market value of
     Insured tractororstraighHnjckatbmo of occurrence, in accordance vyilh insurance poitoy)

        Current Cost to .CONTRACTOR: bne and slx-terdbs percent'{1.6%) annually (billed weekfy) times
     DONTRACTOR-specified value of.tracior, plus SS^er-mcmth admin, fee to CARRIER:

           Deductible for Which CONTRACTOR la Liable: $1,000 per occurrence
                                                                                    - -

             TH!S ATTACHMENT B, ’.vhEoh compiafely raplaces and supersedes any earfier attaatiment, Eddendum, or other
    provisions of this Agreement rrfaflng to the same suBJects, is agreed to by the undersigned parties and sirs!! bs
    effective {CHECK OtiLY ONE BOX!;

                  Atthe date and time set forth cti page 1 of this Agreement,
                  At______    __ m.. Eastern Time,_________ .                              .20   .
                                                                                                                                                      i
                                                                       CONTRACTOR:                           rtCisUe.
                                                                       SociaJ Securtiy or Emplmrer
                                                                                           mplo^< )D No..’

                                                                       By; .       itffe Z&
                                                                               Si^feture
                                                                       _______ ' /jrwy’..,
                                                                       Auihoreed Rep.sNama (Typed or Printed)

                                                                       TTlla

                                                                       Date




                                Big E Transportafion LLC independent Contractor Operating Agreement
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                                                                                  A'l C*’- C'<
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       Ofttte   to lease irom BIO R TRAMSPORTA1IOH LI,C ('OARIimi(’), (mil CAKRIRR to lease to SuWeoee Cimier, Hie (bllowlMg

       tommeroial motor vohiole «|iilpmatl ("liQUIPMEMT'’). tumsill)' onto lu® irom .
                                                                                                      (jjfrru       C.CIv]C.

       rcOMTRACTOtl”):


                CONTRACTOR'S                 CARRIER                                                             SERIAL               BASE
                 EQUIPMENT                    UNIT#         VRAR            MARE           MODEL                 (ViN)#              PLATE#

             TVacfor ■


                   1.        TERM. Abssnt dcOnilt, ihie SuMeaso ritui! Iwglo al Iho tiine(a) sd forth on vompltsled EQUD’MENT Rocalpiffi), in Uw
       form oltach»l hwctn, Ihol Suite® Cmricf nllotl thniioh to CAHUIRR ("RiTiwiivo Dirto’'), and em! ritot |rosW!9lon of Uw EQUIPMENX Is
       returned to C/iERFRIi, ’litis SuWbiso my t» feimimtai at any time for any rcn«m by otter party on mol, foHart'od by wriltet, nolioa of
       (onnlimtion to the olticr party. If, up (o am! Itwlutltoe Um dnUs of fomtliratlon, one or umre oveafs occur font give riso, bofore or aflor that
       Oato, to o linbillty or entilleniail of subtaco Cwrior or OARRIRR timfer thb Sublooso, snob itaMUly or ontittomcht shall rsmlhmo,
       nouvitiistaTMiJng tlm toininalion of this Suttetise, tmll! sueh Hahllity or caSUcmeiH |j sailWleil in M,

                 2.         HrKN'i'IWCATIOK OF RQttCPMirtVT. Subiooso Cnmor oliult unsure that for foo durnlion of tire SuWonso, thu
      identification of equiptnanl rotuiienrettls In 49 C.P.R. § 376.! l(o) ore oomplied with by removing or covering up nil of CARRHUl'a
      idoutificntloit on foo RQUIPMEify and diqdnymg instead Srfoieoso Camcfa idontl llcution.

            3.      CORTSOI. ANB RRSPOflSBH.rfy. Suhloace Cartier shnli Iwve cxolttslvo possossion, control, imd «» of Iho
      EQtHPMBOT, mil shnli usimn oomplafe reqwnsfoiiity for tiro apornh'oit of Rio EQMPWnNT, for foe Unmlion of the SaWosso (ran thn
      lime |»s«>5Sitoi is tohott by the SuMense Corritr tunl Dio tecolpt required tmdor 49 C.F.lt. § 376,11(b) is givon to CAS1UBK smtll possession
      of the RQlnPMBNT is relumed to CARRIER. The foregoing dcciumtions ore mule In order- lo comply with FMCSA regulalions (49 C.lUt
      § 376.12(0X1)) mid shnil not bo used to ciessify CONTRACTOR os tut Employee of Sublease Carrier or CARRIER, As 49 C.F.R, §
      376.12(0X9) provides, nolhlug in Iho previsions required by 49 C.F.R. 5 376.12(0X1) is intended to nffect whetltor CONTRACTOR ond
      CONTRACTORS drtveru ore indepemkn! oontraciora or ernployees of Subfonso Crurtor or CARRIHR ond ’at indcpcrtdcol contractor
      relnBonshipninyoxis! whim n cnrriericnreoctimpilcB with 49 t(.$.C. 5 I41U2 sndnttcudsnl cdmlnlstmtlve requirements";

                4.         INDEMNIFICATION. Subteaw Cttrrlor dial) defend, indamniiy, ond hold hermhss CARRIER from any olfliiW
      (including any for which CARRIBR b not indemnified try CARSUiR'a insurance raid nny oialm ofloss of or dnmogo to the EQUIPMENT or
      to CARRIERS odrar preputly) ordlreci, indireci, raid couscquaitlid loss, damoge, doiny, lirtc, civil penalty, or expense, htcindiug raasonaWo
      ottomoy'ij feos retd cosir.of llligalion (logoihor "Damngcc") Utni CARUtliR |>4ys oroiiiotwiso ineurs orisbigont of or hi connection with ihc
      Sublooso Comer's or CONTRACTOR1.1) (mcludiug their KBpecllvo agent!' or onipioy'ses') Mgligonco, gross ncBhgoneOi widfol reiscoiidncl,
      or other oulpablo acta or omissions;

                5.        INSURANCy. Subiaosi Carrier ogroen to, and warraiitf font il doeri msintoin pubiio iinbih'ly hunrrmco (bodilyc
      iqjury/propertydsinsgo coveroge and environmental restoration covorsgo) ond cargo lossninduinmtrge oovonigo, in ot Irasl cireti omounis o»
      ere required by Frelatd Motor Carrier Safety Admhtlotmtlon rcgolslinaa promulgated imder 49 U.3 C, § 1)906 ond pumnnt to oppllcobie
      ctato InwB, covering ths EQUIPMENT for tiio daration of this Suhlenso. Such Itisuninoo coveroses ohall bo primwy, M between Subkaso
      Cnrrier and CARRffiR, lo any htsfoanco coverages foul CARRIER auftl inabitairt, Sdhlwsa Carrier ehnll evidence such insunniK} coverages
      byfitfnishing IpCARRJRR, along wilir thisoxccuiodSublKieo, a wildcorti/lMloofhtsiuanee.

                6.           SUBLEASE CARRIER.? COMPENSATION OF CONTRACTOR. SuiiteMO Carrier rindl cater into cu blifopondeiit
      contractor operating ogreament vdllt CONTRACTOR regarding compensation (including foe sublease payments owud tu CARRIER pureuant
     to Suction 7 below) and other Icntis that compiles with Iho Fodcml Tnifo.fo'LeasiiiS Roghlaiioiis, 49 C.F.R. Pint 376, and stall pay
     CONTRACTOR foo ogreed comiKUsalioa, iwtfdn (DReoii) ij csiriidor days altef CONTRACTOR submifo Ip Sublosse Carrier lire driver log
     boohs required by the U.S. Deportment ofRanspoitailon and ihoso docnmcnls nocosary for Sublcnso Carrier to secure payment of freight
     ohnrBCii tan the BhiRardogotiiar "Snbieaso TVip Documents")



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                 7,        SUBLEASE EAVMSNIS. As coiisidciution Ibr Bik Sublease, Bubtaso Conior shall remit lc. CONTRACTOR at tho
       same tires Sublease Carrier pay! cowpansoUmi to CONTRACTOR for it trip, null COS'i’RAC'l'OR Iws agreed to remit the eumb oraount to
       CARRIER, ten ppresnt (10%) of alt Owss Rovouuo blUed ly tlio Sublease Carrier to Sublwmo Ciuria's customer for ouch toad Imudlotl bp
       CONTRACTOR under the Sublease, bofore tmy reductions Ibr Bcecasorial clmiges, fuul siueliargoe, or any other ainouute tout hafore eoy
       doduetions from eomponnatlon, Ror cnch stisb trip, Sublease Cams' shall Auoislt to CONTRACTOR for fonwuriiug to CARRffiR a copy of
       the tuledfteialu bill that SublefiseCrariar sunt to Subtoso CmrieAi uuatomor,

                 B.    INDEPBNBERT OONTOACTOB EBLATIONSfflF, It is file intent of tbe parties to this Subkoso lilM Sublouso
       Cuirier, CARMER, and CONTRACTOR iiiiailidJ beindependatl coiitraulore.

                9.       CORY OF SUBLEASE, SublenseCnrtlershnl! ensure Uialu copy oflbe Sublease iscamcdln the EQUIPMENT tbrtbo
      duKrtton oftlw Subtcosc,

                 10.      GEPfBSTAL. ff ony provision (inoludins nib'soutonco or jtart ofa senlcncn) of this Sublease {including (Is altaclunenls
      and mldondamB) Is doefflod Invalid for any reason wklsoover, llw Sublease dinll bo void only os to snob provision, end tills Sublease shall
      remain otherwise binding bolwsen tho parties. ’lids SubleoM (inoludtng Die Attachments and any nddcndimm) conslituto Obj cnliiu Sttblento
      botweott CARRIER and Sublease Corrior pertoinbiB to the subject matter contained herein ond hilly replaces and supevsnlea nil prior and
      oonlomporaueous agreemanls, represenintlons, and undeBUmdlngs. No supplomonl, modmcollon, or terKadmait to Una Subtense sball bo
      biridntg unless in writing niKl signed by hiilh parties. Original, iiwed, or otbanvied imagod riguolures sbaltfce equslly valid,

                tl.       GQVERI'UNO IAW AND FORUitS. Ttds Subleaso sisal! bo interpreted In oocordanac with, and govetnert by, Uto laws
      of the United Slotes und, of tho Commonwcallh of Virginia, vdthout regard to tte cbtilce-of-lnu’ nrlos of Virgbtlo or ony olhor juriEtliction.
      TUB I'ARTffiS AOREE THAT ANT CLAIM OR DISPUTE AR1S1NO PROM OR IN CONNECTION WOT THIS SUBLEASE,
      WHETHER UNDER FliDBRAL, STATE, 1QCAI,, OR PORUtON lAVi (RfCUIDINO BUf NOT T.lMffisO TO 4‘J C.F.R. PART 376),
      SHALL BE BROUGHT EXCLUSIVELY IN THE STATE OR FEDERAL COURTS SERVING RICHMOND, VA. CARRIER AND
      SUBLKASli CARRIER inSRBJSY CONSUNTTOTHE JUiaSDlCTTON AND VKNUtt OF SUCH COURTS.

                 INTVJTNriSS'WKESKOF, (ho porilat hereby eiecule this Subteare on this /P                      tlsvof


                                                                           SUBLEASE- CAMHERi                                      SHOi/?




                or
      CARRIER! Big E TtttBSptrrSIltiUBiAC
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                              ftCTACHMEWTD^

                                                            EQUIPMENT LEST

          The units 'of Equipmehf'subjedtoihls Agreement are.


         Year                   Make                          Model                         SerialjVIN}#       CARRIER
                                                                                                                Unit#
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           ■THIS AirtACHMENT Q^whteh campletely'repfaces aha Eiipsrsedes any eafHer.attssliment, addendum, or other
  provisions of this Agreement relating to the same eubjecte, Is agreed to hy the undersigned parties and shall be
  effective [CHECK OHLYONE BOXJ:


         S' At the date and time set forth On page! ofthisAgreemant,
         10. At__________ m.. Essiam Time,............... ...... ............. , _____ , 20___ .

                                                                       CONTRACTOR; OR;
                                                                       Social Security
                                                                                   Ity or Employer ID

                                                                       BY.     Sty
                                                                           ” Sl^naMre


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                                                                      _____ _____________________




                              Big E Transportation U.C Independent Contractor Operating Agreement
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